Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 1 of 116 Page ID #:4


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   10
                            UNITED STATES DISTRICT COURT
   11
   12                     CENTRAL DISTRICT OF CALIFORNIA
   13 KEVIN SPACEY FOWLER a/k/a            )   Case No. 2:22-mc-00030
   14 KEVIN SPACEY,                        )
                                           )   Pending in the Southern District of
   15              Moving Party,           )   New York, Case No. 1:20-cv-09586-LAK
   16                                      )
                   v.                      )   JOINT STIPULATION REGARDING
   17                                      )   MOVING PARTY’S MOTION TO
   18                                      )   COMPEL AND FOR CONTEMPT RE
        ADAM VARY                          )   ADAM VARY’S DEPOSITION AND
   19                                      )   SUBPOENA FOR PRODUCTION OF
                   Responding Party.       )   DOCUMENTS
   20
                                           )
   21                                      )   Judge: TBD
                                           )   Hearing Date: March 2, 2022
   22
                                           )   Hearing Time: 9:30 a.m.
   23                                      )
                                           )   Discovery Cutoff Date: January 18, 2022
   24                                      )   Pretrial Conference Date: N/A
   25                                      )   Trial Date: February 18, 2022
                                           )
   26
   27
   28


         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 2 of 116 Page ID #:5


    1                                               TABLE OF CONTENTS
    2 I.       INTRODUCTORY STATEMENTS ................................................................... 1

    3          A.        Moving Party Kevin Spacey Fowler’s Introductory
                         Statement Pursuant To C.D. Cal. Local Rule 37-2.1 ................................ 1
    4
               B.        Responding Party Adam Vary’s Introductory Statement
    5                    Pursuant to C.D. Cal. Local Rule 37-2.1................................................... 3
    6 II.      MR FOWLER’S BRIEF SUMMARY OF DISCOVERY AT
               ISSUE................................................................................................................... 6
    7
               A.        Adam Vary Refused To Answer Questions At Deposition ...................... 6
    8          B.        Document Subpoenas To Adam Vary....................................................... 7
    9          C.        Counsel for the Parties Complied With Local Rule 37-1 Pre-
   10                    Filing Conference ...................................................................................... 7

   11 III.     MR. VARY’S RESPONSE TO MR. FOWLER’S “BRIEF
               SUMMARY OF DISCOVERY AT ISSUE”....................................................... 8
   12 IV.      MR. VARY’S DEPOSITION .............................................................................. 8
   13          A.        Specific Deposition Conduct At Issue ...................................................... 8
   14          B.        Moving Party Mr. Fowler’s Statement.................................................... 35
   15                    1.        Mr. Vary’s Objections Based On Qualified Protection
                                   Under the First Amendment Are Without Merit ............................. 35
   16
                         2.        Mr. Vary’s Objections Based on California’s
   17                              Reporter’s Shield Law Do Not Justify His
   18                              Withholding of Discovery, Nor Has He Shown
                                   California’s Shield Law Applies Here............................................... 39
   19
                         3.        Vary’s Other Objections Are Without Merit. ................................... 41
   20          C.        Responding Party Vary’s Statement: ...................................................... 41
   21                    1.        Fowler’s Entire Motion Is Untimely. ................................................. 41
   22                    2.        Fowler Did Not Comply with Local Rule 37-2.1. ........................... 43
   23                    3.        Fowler’s Motion Suffers Numerous Procedural
                                   Defects. .................................................................................................... 43
   24
                         4.        Vary Only Declined to Answer Questions That
   25                              Related to His Role as a Journalist. .................................................... 44
   26                    5.        California Law Applies and Shields Vary from
                                   Further Deposition Testimony. ........................................................... 45
   27
                                   a.         California Law Provides Reporters Like Vary
   28                                         with Absolute Protection in a Civil Case............................... 45

                                                                            i
           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 3 of 116 Page ID #:6


    1                        b.       Contrary to Fowler’s Contentions, California’s
                                      Shield Law Applies Here, Not New York’s. ........................ 48
    2
                                      i.        Under Rule 45, the Laws of this Court
    3                                           Govern. ............................................................................ 48
    4                                 ii.       California Has a Greater Interest in
                                                Enforcing its Shield Law. ............................................. 50
    5
                             c.       Vary Did Not Waive Any Rights. .......................................... 52
    6
                     6.      Vary Is Also Protected under the First Amendment. ...................... 53
    7
                             a.       Fowler’s Deposition Questions About Vary’s
    8                                 Newsgathering Are Not “Clearly Relevant.” ....................... 56
    9                        b.       Fowler Does Not Show He Has Exhausted
                                      Alternative Sources. .................................................................. 57
   10
                             c.       Fowler Failed to Show That the Requested
   11                                 Information Would Not Be Cumulative. ............................... 58
   12                7.      Vary Is Further Protected by the Common Law. ............................. 58
   13 V.     DOCUMENT SUBPOENA ............................................................................... 61
   14        A.      Document Request No. 1 ........................................................................ 61
             B.      Document Request No. 2 ........................................................................ 66
   15
             C.      Document Request No. 3 ........................................................................ 68
   16
             D.      Document Request No. 4 ........................................................................ 70
   17
             E.      Document Request No. 5 ........................................................................ 72
   18        F.      Document Request No. 6 ........................................................................ 75
   19        G.      Document Request No. 9 ........................................................................ 77
   20        H.      Document Request No. 11 ...................................................................... 79
   21        I.      Document Request No. 12 ...................................................................... 81
   22        J.      Document Request No. 13 ...................................................................... 83

   23        K.      Document Request No. 14 ...................................................................... 85
             L.      Document Request No. 15 ...................................................................... 88
   24
             M.      Document Request No. 16 ...................................................................... 90
   25
             N.      Document Request No. 17 ...................................................................... 92
   26
             O.      Document Request No. 18 ...................................................................... 94
   27        P.      Document Request No. 19 ...................................................................... 96
   28        Q.      Document Request No. 20 ...................................................................... 98

                                                                  ii
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 4 of 116 Page ID #:7


    1        R.    Document Request No. 21 .................................................................... 101
    2        S.    Document Request No. 26 .................................................................... 103

    3        T.    Document Request No. 27 .................................................................... 105
             U.    Document Request No. 28 .................................................................... 107
    4
             V.    Document Request No. 29 .................................................................... 109
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                           iii
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 5 of 116 Page ID #:8


    1                                   JOINT STATEMENT
    2          Pursuant to Federal Rules of Civil Procedure 37 and 45, and C.D. Cal. Local Rule
    3 37-1 et seq., plaintiff Kevin Fowler a/k/a Kevin Spacey Fowler (“Mr. Fowler” or
    4 “Moving Party”) and non-party deponent Adam Vary (“Mr. Vary”) have met and
    5 conferred regarding discovery of documents and information sought by Mr. Fowler’s
    6 Subpoena to Testify at a Deposition in a Civil Action (“Deposition Subpoena”) and
    7 Subpoena to Produce Documents, Information, or Objects, or to Permit Inspection of
    8 Premises in a Civil Action (“Document Subpoena,” and collectively with the Deposition
    9 Subpoena, the “Subpoenas”). Mr. Fowler and Mr. Vary have been unable to reach an
   10 agreement at this time, and respectfully submit their positions.
   11 I.       INTRODUCTORY STATEMENTS
               A.    Moving Party Kevin Spacey Fowler’s Introductory Statement
   12                Pursuant To C.D. Cal. Local Rule 37-2.1
   13          This discovery dispute concerns a civil lawsuit pending in federal court in the
   14 Southern District of New York. The case was brought in late 2020 by plaintiff Anthony
   15 Rapp (“Rapp”) alleging assault, battery, and intentional infliction of emotional distress
   16 against Mr. Fowler. The lawsuit is nearing trial, with pretrial documents signaling the
   17 case is “ready for trial” being due February 18, 2022. As an initial matter, Mr. Fowler
   18 respectfully requests that the Court transfer this dispute to the Southern District of New
   19 York under Federal Rule of Civil Procedure 45(f). Such transfer would promote judicial
   20 economy and efficiency because the trial judge in the Southern District of New York,
   21 The Honorable Lewis Kaplan, is intimately familiar with the facts and history of this
   22 case, and it is rapidly approaching trial.
   23          Rapp’s claims all are based on an alleged incident in approximately 1986 when
   24 Mr. Fowler purportedly picked up Rapp, lifted him onto a bed, and laid on top of him.
   25 Rapp has acknowledged Mr. Fowler’s alleged “sexual advance” involved no touching of
   26 genitals, no kissing, no undressing of either Rapp or himself or any attempt to do so, and
   27 no sexualized statements or other statements suggesting an intent to engage in any such
   28 conduct. Mr. Fowler categorically denies the allegations.

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           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 6 of 116 Page ID #:9


    1         Rapp’s claims were initially publicized in a Buzzfeed article published on October
    2 29, 2017 and written by Rapp’s longtime friend, Adam Vary. During discovery, Mr.
    3 Fowler served Mr. Vary with deposition and documents subpoenas seeking information
    4 about his communications with Rapp since they became friends over twenty years ago,
    5 the preparation and circumstances of the Buzzfeed articles, and related matters. In
    6 particular, Rapp produced texted messages with Mr. Vary which showed that Rapp
    7 initially told Mr. Vary a version of his story that had demonstrably false details. Those
    8 details were omitted or corrected in the final article, apparently as part of an express or
    9 implied understanding that Rapp would provide his story to his friend if Mr. Vary
   10 sanitized the article to protect Rapp from scrutiny for his inconsistencies and false details.
   11         But during his deposition, and in response to the records subpoena, Mr. Vary
   12 refused to answer questions, about any communication with Rapp other than what was
   13 explicitly published in Mr. Vary’s 2017 Buzzfeed article or a follow-up article in 2018.
   14 Mr. Vary followed his counsel’s instruction not to answer questions about Mr. Vary’s
   15 conversations with Rapp, Mr. Vary’s investigation or view of Rapp’s allegations, or even
   16 foundational issues related to Mr. Vary’s vetting of Rapp’s claims (or his failure to
   17 factcheck them). Mr. Vary further refused to answer whether he deliberately altered or
   18 omitted demonstrably false details of Mr. Rapp’s account when seeking comment from
   19 Mr. Fowler. Mr. Vary also produced no documents in response to the records subpoena
   20 and even acknowledged he did not even attempt to look for any documents responsive to
   21 the subpoena.
   22         To justify his refusal to provide discovery, Mr. Vary relied primarily on a qualified
   23 “reporter’s privilege” under the First Amendment and a “reporter’s shield” under
   24 California law. But neither applies here. As an initial matter, the only possible
   25 application of either doctrine applies to a narrow set of circumstances that Mr. Vary has
   26 not demonstrated apply here, or at least not to each question and document request.
   27         Even if there were protection under the First Amendment, the protection is
   28 qualified, and it must give way when the requested material is unavailable despite efforts

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         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 7 of 116 Page ID #:10


     1 to obtain it elsewhere, is noncumulative, and is clearly relevant to an important issue in
     2 the case. Here, all of these factors are present. Rapp’s credibility and the details of his
     3 allegations are critical issues that will be the focus of the upcoming trial. Mr. Fowler has
     4 deposed and taken written discovery from Rapp but Rapp has testified he does not recall
     5 all details of what he told Mr. Vary. The only way to obtain that critical evidence is from
     6 Mr. Vary and any notes, recordings, or other documents he may have in his possession.
     7         Likewise, California’s reporter’s shield law does not apply. If anything, New
     8 York’s reporter’s shield applies because New York has a greater interest in this case,
     9 given the case is pending there, New York law applies to the dispute, Rapp is a citizen
    10 in New York, and Buzzfeed – which published Mr. Vary’s articles at issues – is located
    11 in New York. And New York’s reporter’s shield provides only qualified protection
    12 similar to that under the First Amendment test described above. And, finally, even if
    13 California’s “absolute” reporter’s shield law were to apply, it still have been found not
    14 to apply where it impedes a criminal defendant’s rights. Because Rapp’s claims are
    15 premised on conduct he must show constitutes criminal conduct under New York’s penal
    16 law, the same balancing test should apply and weigh in favor of disclosure.
    17         Mr. Fowler therefore respectfully requests that the Court grant his motion and find
    18 Mr. Vary to be in contempt unless he sits for a supplemental deposition to answer the
    19 question he previously refused to answer (plus all reasonable follow up questions) and
    20 produces documents in response to the requests in the documents subpoena.
    21         B.    Responding Party Adam Vary’s Introductory Statement Pursuant to
                     C.D. Cal. Local Rule 37-2.1
    22
    23         Non-party Adam Vary is a journalist, and his only connection to this case is in his

    24 capacity as a journalist. In 2017, Vary authored an article for his former employer
    25 BuzzFeed about famous actor Kevin Spacey Fowler’s (p/k/a Kevin Spacey) sexual
    26 advance on actor Anthony Rapp, who was only 14 years old at the time. Jassy Decl. ¶ 3,
    27 Ex. 10; see also Jassy Decl. ¶ 2; id., Ex. 11 at 70:7-11, 77:17-90:16, 90:2-93:22 (Vary
    28 work history). Fowler did not claim that Vary’s article was false in any way; rather,

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 8 of 116 Page ID #:11


     1 Fowler tweeted that he did not remember the encounter with Rapp, and apologized for
     2 “what would have been deeply inappropriate drunken behavior.” Ex. 10 at 4. Four years
     3 later, Fowler issued three document subpoenas (each with at least 29 requests for
     4 production), and deposed Vary for more than seven hours. Jassy Decl. ¶¶ 4-5. Now,
     5 after the discovery cut-off and after the ready date for the start of trial, Fowler wants to
     6 depose Vary again—this time with the specific goal to invade his journalistic processes
     7 and unpublished information. On several grounds, this motion should fail.
     8 As a preliminary matter, Fowler’s motion is procedurally defective for many reasons: (1)
     9 it is late—filed after the discovery cut-off, to be heard after the trial ready date; (2) it fails
    10 to comply with L.R. 37-1, 37-2.1, and L.R. 37-3; and (3) it suffers other procedural
    11 defects enumerated below. Fowler makes a passing request to transfer this motion, but
    12 the motion must be heard in “the district where compliance is required” – i.e., in this
    13 Court – unless Vary consents (he does not) or there are “exceptional circumstances.”
    14 F.R.C.P. 45(d)(2)(B)(i). Fowler articulates no such “exceptional circumstances.”
    15         The motion also fails for substantive reasons. The premise of Fowler’s motion is
    16 also its fundamental defect—Fowler seeks unpublished newsgathering and reporting
    17 information, which is protected from disclosure under state, federal and common law.
    18 California’s Constitution provides an unqualified absolute protection from disclosure in
    19 civil cases. Fowler has no competing constitutional right that can overcome Vary’s right
    20 to keep his unpublished information confidential. Fowler incorrectly asserts that New
    21 York, not California law, should apply to this discovery dispute. A basic conflict of law
    22 analysis proves this wrong. Vary is, and at all relevant times was, a California resident,
    23 and California has a strong interest in protecting the constitutional rights of its citizens. 1
    24 In another desperate attempt to avoid California law, Fowler claims, in a motion brought
    25 under Federal Rule of Civil Procedure 45, that this is not really a civil case. Nonsense.
    26 When Fowler’s counsel was asked in the meet and confer process, “If Fowler loses this
    27
    28         1
                Fowler notes that Rapp is in New York, but the subpoenas were not directed to
         Rapp. Nor were the subpoenas directed to BuzzFeed, Vary’s former employer.
                                                         4
           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 9 of 116 Page ID #:12


     1 civil case that would mean that he is a criminal?,” his counsel candidly replied: “Of
     2 course not.” He faces no criminal liability at all. Because this is a civil case, with Rapp
     3 asserting civil claims of assault, battery, and intentional infliction of emotional distress,
     4 California law completely insulates Vary from having to share any unpublished
     5 information.
     6         Vary is also protected by the Ninth Circuit’s qualified First Amendment reporter’s
     7 privilege. To overcome that privilege, it is Fowler’s burden to show that each piece of
     8 information or document he seeks is clearly relevant to his case, not cumulative, and
     9 unavailable from any other sources. Fowler glosses over this burden in a general way,
    10 and makes no effort to show he can satisfy it as to each deposition question and each
    11 document demand. Unpublished information about Vary’s work is not clearly relevant
    12 to this case. This case is not about the veracity of Vary’s articles or Vary’s state of mind.
    13 In many of his questions, Fowler’s counsel simply asserted that some fact was incorrect
    14 or unaccounted for, and then demanded to know why it was not published in Vary’s
    15 articles. Much of the requested information could be sought from other sources,
    16 including the very sources that Fowler is asking about, such as a Mr. Barrowman. To
    17 the extent Fowler’s point is that Rapp has discrepancies in his story, that can be proven
    18 (or not) without piercing Vary’s privilege, and anything Vary might (or might not) offer
    19 would be cumulative.
    20         As to the Deposition Subpoena, Fowler wants Vary to testify about unpublished
    21 information about Vary’s journalistic techniques, sources and interviews specifically
    22 concerning his reporting on the Fowler matter. Almost every time Vary’s counsel made
    23 an objection/instruction on reporter’s shield/privilege grounds, Vary’s counsel only
    24 made it “to the extent” the question called for unpublished information, but consistently
    25 noted that Vary could “otherwise answer the question.” And Vary did just that. As
    26 Fowler acknowledges—Vary already testified in deposition about published information.
    27 He did not indiscriminately refuse to answer seven hours of questioning. He did not
    28 move to quash the entire subpoena. He only declined to answer where he determined

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 10 of 116 Page ID #:13


     1 that it would invade the protections afforded him as a journalist. In addition to testifying
     2 about published information, he also testified about information separate from his news
     3 reporting—e.g., concerning his friendship with Rapp, BuzzFeed’s finances and
     4 communications with Rapp’s counsel.
     5         Vary drew consistent lines for the Document Subpoena: (1) he offered published
     6 articles concerning Fowler, but they were rejected; (2) he produced his limited
     7 communications with Rapp’s counsel; (3) he would not produce unpublished
     8 newsgathering information because of the reporter’s privilege/shield; and (4) he would
     9 not undertake to search for or produce irrelevant documents – i.e., documents that did
    10 not relate to Fowler, Rapp and the allegations in this case – unless Fowler could articulate
    11 a reason they were relevant, which did not happen. Fowler also insists on a privilege log
    12 even though Vary already explained categorically what was being withheld pursuant to
    13 the reporter’s privilege, and Fowler ignored Vary’s authorities exempting non-parties
    14 from preparing logs under such circumstances.
    15         Fowler’s counsel was obligated to take “reasonable steps to avoid imposing undue
    16 burden or expense” on a subpoenaed non-party. FRCP 45(d)(1). Instead, Fowler
    17 continues to harass Vary. Vary requests that Fowler’s motion be denied in full, and that
    18 $18,000 in fees and costs be awarded to Vary.
    19 II.     MR FOWLER’S BRIEF SUMMARY OF DISCOVERY AT ISSUE
    20         A.     Adam Vary Refused To Answer Questions At Deposition
    21         Adam Vary was deposed remotely on December 16, 2021. One focus of the
    22 deposition was Mr. Vary’s discussions with Rapp in October 2017 when Rapp contacted
    23 Mr. Vary about doing a story about Rapp’s allegations against Mr. Fowler. Mr. Vary’s
    24 initial article on the subject was published on October 29, 2017 by Buzzfeed. Mr. Vary
    25 also did a follow up article in 2018 for which he also spoke with Rapp.
    26         During the deposition, Mr. Vary’s counsel instructed him not to answer, and Vary
    27 refused to answer, questions about Rapp’s communications with Vary other than what
    28

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 11 of 116 Page ID #:14


     1 was expressly published in Mr. Vary’s articles. The full questions, objections, and
     2 instructions not to answer are set forth in Section III below.
     3         B.    Document Subpoenas To Adam Vary
     4         Besides the oral deposition, Rapp also separately subpoenaed documents from Mr.
     5 Vary. Mr. Fowler’s initial document subpoena was issued on November 4, 2021.
     6 Following discussions with counsel, Mr. Fowler issued a second subpoena on December
     7 6, 2021, calling for production of documents shortly before Mr. Vary’s deposition. Mr.
     8 Vary produced no documents at his deposition.
     9         After the deposition, during the parties’ meet and confer, Mr. Vary’s counsel
    10 reiterated an objection that the subpoena had been issued on letterhead from this Court,
    11 rather than the Southern District of New York where this action is pending. On
    12 December 29, 2021, Mr. Fowler responded to that perceived concern by re-issuing and
    13 re-serving a documents subpoena issued by the Southern District of New York (“Records
    14 Subpoena”). That subpoena also dropped one of the document requests. On January 12,
    15 2022, Mr. Vary objected to that subpoena. Mr. Vary’s objections set forth the same
    16 objections. He produced no documents.
    17         The document requests in the Records Subpoena, Mr. Vary’s objections to them,
    18 and each party’s position on them is set forth below.
    19         C.    Counsel for the Parties Complied With Local Rule 37-1 Pre-Filing
    20               Conference

    21         On December 29, 2021, Mr. Fowler’s counsel sent a letter to Mr. Vary’s counsel

    22 to initiate a meet and confer under C.D. Cal. Local Rule 37-1. See Scolnick Decl., Ex.
    23 6. Vary’s counsel responded in writing on January 5, 2022. Id., Ex. 7. Under Local
    24 Rule 37-1, counsel for the parties had a telephonic meet and confer on January 10, 2022.
    25 Id., ¶ 8. Counsel also had a conference on January 18, 2022. Id., ¶ 8. The parties could
    26 not resolve this discovery dispute.
    27
    28

                                                     7
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 12 of 116 Page ID #:15


     1 III.     MR. VARY’S RESPONSE TO MR. FOWLER’S “BRIEF SUMMARY OF
                DISCOVERY AT ISSUE”
     2
     3          Vary objects to, and moves to strike, Fowler’s “Brief Summary of Discovery at

     4 Issue” as an improper and overlong extension of Fowler’s introductory statement in
     5 violation of Local Rule 37-2.1.
     6 IV.      MR. VARY’S DEPOSITION

     7          A.    Specific Deposition Conduct At Issue

     8          These excerpts of testimony show the deposition questions, objections,

     9 instructions, and limited responses, at issue on this motion:
                                                                     2


    10
    11 1.       Page 21, Line 16 to Page 22, Line 21

    12          16     Q. And why did you reach out to Mr. Rapp over the
                17 summer?
    13
                18     A. There were reports that Kevin Spacey had been
    14          19 performing in a big feature film, and a colleague at
                20 Variety was writing about that, and I had been asked to
    15
                21 ask if Anthony had comment on that -- for that story.
    16          22     Q. And did Anthony have comment on that story?
                23     A. He did not.
    17          24     Q. Did Mr. Rapp discuss Mr. Fowler with you on
    18          25 that call?
                00022
    19           1       MR. JASSY: Objection. To the extent -- Madam
    20           2 Court Reporter, can you hear me okay?
                 3       DEPOSITION OFFICER: Yes.
    21           4       MR. JASSY: Okay. I'm going to start a
    22           5 standing objection here because I have a feeling this
                 6 may come up again, Mr. Scolnick. I'm going to object on
    23           7 the basis of the reporter's shield and the reporter's
                 8 privilege. And what I mean by that is the privilege and
    24
                 9 the shield that's rooted in the 1st and 14th Amendments
    25          10 of the United States Constitution, the Article I,
    26         The relevant pages of Mr. Vary’s deposition transcript are attached as an Exhibit
                2

    27 to the Declaration of Chase Scolnick. Mr. Fowler respectfully requests that Mr. Vary be
       ordered to sit for another deposition to answer all of these questions, plus reasonable
    28 follow up questions. Vary, who already sat for over seven hours of deposition, opposes
       Fowler’s request.
                                                       8
            JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                    ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 13 of 116 Page ID #:16


     1            11   Section 2 of the California Constitution, Section 1070
                  12   of the California Evidence Code, Rule 501 of the Federal
     2            13   Rules of Evidence, state analogs and other states, for
     3            14   example, New York, and also the common law.
                  15         And so I'm going to assert the -- to that last
     4            16   question the reporter's privilege and the reporter's
     5            17   shield and instruct the witness not to answer to the
                  18   extent that it would call for or require the disclosure
     6            19   of information obtained or sought to be obtained or
     7            20   gathered in the course of news-gathering. But if he can
                  21   answer -- revealing such information, he may do so.
     8
     9
         2.       Page 40, Lines 4 to 12
    10
                  4       Q. Why did you suggest using Signal to communicate
    11
                  5    with Mr. Rapp?
    12            6          MR. JASSY: Objection. Reporter's shield.
                  7    Reporter's privilege. It calls for unpublished
    13            8    news-gathering information.
    14            9          I instruct the witness not to answer, unless he
                  10    feels he's able to do so.
    15            11          THE WITNESS: I am following my attorney's
    16            12    advice not to answer.

    17
    18 3.         Page 42, Lines 5 to 12

    19            5       Q. What, if anything, did you do to search for
    20            6    responsive documents to this request?
                  7          MR. JASSY: Objection.
    21            8          To the extent it calls for the disclosure of
                  9    attorney-client privileged information, I instruct the
    22
                  10    witness not to answer.
    23            11          THE WITNESS: Following my attorney's advice
                  12    not to answer.
    24
    25
         4.       Page 48, Lines 9 to 23
    26
    27            9   Q. After the initial off-the-record conversation
                  10 you had with Mr. Rapp about Mr. Fowler, you had
    28            11 additional conversations with Mr. Rapp about Mr. Fowler;
                  12 correct?
                                                       9
              JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                      ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 14 of 116 Page ID #:17


     1            13      A. Yes.
                  14      Q. And in any of those subsequent conversations,
     2            15   did Mr. Rapp tell you that the communications about
     3            16   Mr. Fowler were confidential?
                  17         MR. JASSY: Objection. Calls for the
     4            18   disclosure of unpublished information and -- on the
     5            19   basis of the reporter's shield and reporter's privilege.
                  20         And instruct the witness not to answer, unless
     6            21   he's otherwise able to do so.
     7            22         THE WITNESS: Based on my -- my counsel's
                  23   advice, I'm not answering that question.
     8
     9
         5.       Page 64, Line 20 to Page 66, Line 1
    10
                  20    Q. Have you ever spoken with Mr. Rapp about the
    11
                  21 content of his book?
    12            22         MR. JASSY: Objection to the extent it calls
                  23 for the disclosure of unpublished news-gathering
    13            24 information. I object on the grounds of the reporter's
    14            25 privilege and the reporter's shield.
                  00065
    15             1        And I instruct the witness not to answer,
    16             2 unless he may otherwise do so.
                   3        THE WITNESS: Prior to 2017 I probably told him
    17             4 that I found the book very moving and enjoyed it. I
    18             5 don't recall saying to him much more -- anything more
                   6 than that.
    19             7 BY MR. SCOLNICK:
    20             8    Q. And you separated that out to prior to 2017.
                   9        Why was that?
    21            10        MR. JASSY: Well, same objection and
                  11 instruction as the last question.
    22
                  12        THE WITNESS: I refer -- I will -- in response
    23            13 to the -- your most recent question, I am following my
                  14 attorney's advice not to respond.
    24            15 BY MR. SCOLNICK:
    25            16     Q. Have you ever written a story about Mr. Rapp's
                  17 book?
    26            18     A. I don't recall ever doing that.
    27            19     Q. Did you ever intend to write a story about
                  20 Mr. Rapp's book?
    28            21         MR. JASSY: Objection. Calls for the
                  22 disclosure of reporter's shield or reporter's privilege
                                                        10
              JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                      ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 15 of 116 Page ID #:18


     1            23 information.
                  24       Instruct the witness not to answer.
     2            25       THE WITNESS: I'm following my attorney's
     3            00066
                   1 advice and not answering.
     4
     5
         6.       Page 119, Lines 4 to 13
     6
     7            4       Q. Did you intentionally omit any details of
                  5    Mr. Rapp's account and allegations in your story?
     8            6           MR. JASSY: Objection. To the extent that it
     9            7    calls for the disclosure of unpublished material, object
                  8    on the basis of the reporter's privilege and the
    10            9    reporter's shield.
                  10          Instruct the witness not to answer. He may
    11
                  11    answer, if he believes he can.
    12            12          THE WITNESS: On advice of my attorney, I'm not
                  13    answering that question.
    13
    14
         7.       Page 120, Line 22 to Page 121, Line 9
    15
    16            22     Q. So Mr. Rapp provided you a detail about the
                  23 last time he had seen Mr. Fowler; right?
    17            24     A. Yes.
    18            25     Q. You determined that detail was not accurate;
                  00121
    19             1 right?
    20             2       MR. JASSY: Objection.
                   3       To the extent that it calls for the disclosure
    21             4 of unpublished information. Instruct the witness not to
                   5 answer. Otherwise, he can answer the question.
    22
                   6       Objection is based on the reporter's privilege
    23             7 and the reporter's shield.
                   8       THE WITNESS: On my attorney's advice, I'm not
    24             9 answering the question.
    25
    26 8.         Page 121, Line 22 to Page 122, Line 17
    27
                  22    Q. Okay. So Mr. Rapp told you that the last time
    28            23 he had seen Spacey was at the 2008 Tonys. You
                  24 determined that Mr. Spacey did not present at the 2008
                                                      11
              JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                      ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 16 of 116 Page ID #:19


     1            25 Tonys; right?
                  00122
     2             1       MR. JASSY: Object to the extent that it calls
     3             2 for disclosure of unpublished information, based on the
                   3 reporter's privilege and the reporter's shield.
     4             4       I instruct the witness not to answer, unless he
     5             5 feels he can.
                   6       THE WITNESS: We published that Kevin Spacey
     6             7 and Anthony Rapp were at the 1999 Tony Awards.
     7             8 BY MR. SCOLNICK:
                   9    Q. Even though Mr. Rapp initially told you that he
     8            10 and Mr. Fowler were at the 2008 Tony Awards; correct?
                  11        MR. JASSY: Objection based on the reporter's
     9
                  12 privilege and the reporter's shield because it's asking
    10            13 for unpublished information.
                  14        To that extent, I instruct the witness not to
    11
                   15 answer, unless he's able to.
    12             16       THE WITNESS: By attorney's advice, I'm not
                   17 answering that question.
    13
    14
         9.       Page 123, Line 12 to Page 124, Line 21
    15
    16            12     Q. And you were writing that to protect Mr. Rapp
                  13 from being contradicted about an inaccurate statement
    17            14 that he made to you; right?
    18            15        MR. JASSY: Objection.
                  16        MR. SAGHIR: Objection.
    19            17        MR. JASSY: Peter, if you want make your
    20            18 objection, then I'll make mine.
                  19        MR. SAGHIR: Yeah. Just objection as --
    21            20 objection as the question -- the statement
                  21 mischaracterizing testimony.
    22
                  22        MR. JASSY: That's right. In -- I guess under
    23            23 the New York rules, he can just object as to form;
                  24 right? But I'll -- I'll go -- I'll go a little further.
    24            25 Objection to the extent that it calls for the disclosure
    25            00124
                   1 of unpublished information. And the objections on the
    26             2 basis of the reporter's shield and the reporter's
    27             3 privilege.
                   4       Instruct the witness not to answer to that
    28             5 extent. Otherwise, he can answer.
                   6       And I also object that the question's
                                                       12
              JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                      ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 17 of 116 Page ID #:20


     1        7    argumentative.
              8          THE WITNESS: On the advice of my attorney, I
     2        9    am declining to answer that question.
     3        10    BY MR. SCOLNICK:
              11       Q. Okay. Let me phrase it a little differently.
     4        12          Were you trying to protect Mr. Rapp from being
     5        13    contradicted publicly?
              14          MR. JASSY: Objection. Same objections.
     6        15    Argumentative. Reporter's shield. Reporter's
     7        16    privilege.
              17          And to the extent that it calls for unpublished
     8        18    information. Instruct the witness not to answer; but he
              19    can if he's otherwise able to.
     9
              20          THE WITNESS: On advice of my attorney, I'm not
    10        21    answering.
    11
    12 10.    Page 128, Line 23 to Page 129, Line 6
    13        23     Q. Did Mr. Rapp ever tell you why he came to you
    14        24 with this story?
              25       MR. JASSY: Objection. Reporter's privilege.
    15        00129
    16         1 Reporter's shield.
               2       To the extent it calls for unpublished
    17         3 information, I instruct the witness not to answer.
    18         4 Otherwise, he may do so.
               5       THE WITNESS: On the advice of my attorney, I'm
    19         6 not responding to that question.
    20
    21 11.    Page 140, Lines 8 to 18
    22
              8      Q. Mr. Vary, didn't Mr. Rapp tell you that another
    23        9    media outlet was trying to scoop you on this story in
              10   October of 2017?
    24        11         MR. JASSY: Objection. To the extent it calls
    25        12   for the disclosure of unpublished information, I object
              13   on the basis of reporter's privilege and the reporter's
    26        14   shield.
    27        15         And I instruct the witness not to answer.
              16   Otherwise, he may do so.
    28        17         THE WITNESS: On advice of my attorney, I am
              18   not answering that question.
                                                   13
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 18 of 116 Page ID #:21


     1 12.    Page 141, Lines 16 to 25
     2        16      Q. Okay. So you were discussing with Mr. Rapp the
     3        17   potential that you'd be scooped on his allegations
              18   against Mr. Fowler in October; right?
     4        19         MR. JASSY: To the extent it calls for
     5        20   disclosure of information not published -- the public, I
              21   object on the basis of the reporter's privilege and the
     6        22   reporter's shield and instruct the witness not to
     7        23   answer. Otherwise, he may do so.
              24         THE WITNESS: On the advice of my attorney, I'm
     8        25   not answering that question.
     9
    10 13.    Page 142, Line 7 to Page 145, Line 2
    11
               7    Q. Turning to Page -- Page 31 of Exhibit 103.
    12         8 Thirty-two. I'm sorry. We talked about this exchange
               9 earlier. And I wanted to focus on the last sentence of
    13        10 the top exchange that you have with Mr. Rapp.
    14        11        And you told Mr. Rapp that, quote, Similarly,
              12 we're also going to steer away from exact specificity in
    15        13 the story for the party.
    16        14        Did I read that correctly?
              15     A. You did.
    17        16     Q. And what you're referring to is your decision
    18        17 to not include specific details about the party at which
              18 Mr. Rapp made his allegations; correct?
    19        19        MR. JASSY: Objection. To the extent it calls
    20        20 for the disclosure of unpublished information, I object
              21 on the basis of the reporter's privilege and the
    21        22 reporter's shield.
              23        And I instruct the witness not to answer,
    22
              24 unless he may otherwise do so.
    23        25        THE WITNESS: On the advice of my attorney, I'm
              00143
    24         1 not answering.
    25         2 BY MR. SCOLNICK:
               3    Q. Mr. Vary, were you trying to omit details from
    26         4 your story that Mr. Fowler or anyone in the public could
    27         5 see were inaccurate with Mr. Rapp's story?
               6       MR. JASSY: Objection. Vague.
    28         7       And to the extent that it calls for the
               8 disclosure of unpublished information protected by the
                                                     14
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 19 of 116 Page ID #:22


     1         9 attorney -- excuse me -- the reporter's privilege and
              10 the reporter's shield, I instruct the witness not to
     2        11 answer. Otherwise, he may do so.
     3        12        THE WITNESS: On the advice of my attorney, I
              13 am not answering that question.
     4        14 BY MR. SCOLNICK:
     5        15     Q. Were you attempting to omit details in your
              16 article regarding Mr. Rapp's account of his allegations
     6        17 against Mr. Fowler to protect Mr. Rapp from being
     7        18 contradicted publicly?
              19        MR. JASSY: Objection. Asked and answered.
     8        20 And I object on the basis of the reporter's privilege
              21 and the reporter's shield and instruct the witness not
     9
              22 to answer on the grounds that it's unpublish -- calling
    10        23 for unpublished information. But if he can answer, he
              24 may do so.
    11
              25        THE WITNESS: On the advice of my attorney, I'm
    12        00144
               1 not answering that question.
    13         2 BY MR. SCOLNICK:
    14         3     Q. What specific details about Mr. Rapp's
               4 allegations against Mr. Fowler did you decide to steer
    15         5 away from in your article?
    16         6       MR. JASSY: Objection.
               7       To the extent it calls disclosure of
    17         8 unpublished information protected from disclosure by the
    18         9 reporter's shield and the reporter's privilege, I
              10 instruct the witness not to answer. Otherwise, he may
    19        11 do so.
              12        And it lacks foundation.
    20
              13        THE WITNESS: On the advice of my attorney, I'm
    21        14 not answering that question.
              15 BY MR. SCOLNICK:
    22
              16     Q. Did you intend to omit specific details of
    23        17 Mr. Rapp's allegations in your article so that
              18 Mr. Fowler could not fairly respond to the allegations?
    24        19        MR. JASSY: Objection. Lacks foundation.
    25        20 Misleading. Argumentative. And to the extent it calls
              21 for the disclosure of unpublished information, I object
    26        22 on the basis of the reporter's privilege and the
    27        23 reporter's shield.
              24        And instruct the witness not to answer.
    28        25 Otherwise, he may do so.
              00145
                                                 15
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 20 of 116 Page ID #:23


     1          1     THE WITNESS: Advice of my attorney, I am not
                2 answering that question.
     2
     3
         14.   Page 146, Lines 2 to 13
     4
     5         2          Do you recall Mr. Rapp voicing any objection to
               3    you changing any of the details that he told you?
     6         4          MR. SAGHIR: Objection. Argumentative.
     7         5    Assuming facts not in evidence. And mischaracterizing
               6    testimony.
     8         7          MR. JASSY: Lacks foundation. And to the
     9         8    extent it calls for disclosure of unpublished
               9    information, I invoke the reporter's privilege and the
    10         10    reporter's shield and instruct the witness not to
               11    answer. Otherwise, he may do so.
    11
               12          THE WITNESS: I -- on advice of my attorney,
    12         13    I'm not answering that question.
    13
    14 15.     Page 147, Lines 6 to Page 148, Line 1
    15          6       My question was, Did Mr. Rapp object to you
    16          7 omitting any details from his account before you
                8 published?
    17          9       MR. SAGHIR: Objection. No foundation.
    18         10       MR. JASSY: Same objections as the last
               11 question. And same instruction.
    19         12       THE WITNESS: On the advice of my attorney, I'm
    20         13 not answering that question.
               14 BY MR. SCOLNICK:
    21         15     Q. Okay. Did you believe in October 2017 that it
               16 would be more difficult for Mr. Fowler to defend himself
    22
               17 or respond to these allegations if you omitted certain
    23         18 details from Mr. Rapp's account?
               19       MR. JASSY: Objection. Lacks foundation.
    24         20 Argumentative. Calls for speculation.
    25         21       And to the extent that it seeks unpublished
               22 information, object on the basis of the reporter's
    26         23 shield and the reporter's privilege. Instruct the
    27         24 witness not to answer. Otherwise, he may do so.
               25       THE WITNESS: On the advice of my attorney, I'm
    28         00148
                1 not answering that question.
                                                   16
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 21 of 116 Page ID #:24


     1 16.     Page 149, Lines 8 to 19
     2         8        Q. Okay. So you were letting Mr. Rapp know that
     3         9    you had reached out to Mr. Fowler's team that Saturday;
               10    right?
     4         11          MR. JASSY: Objection. Best Evidence Rule.
     5         12    And it misstates prior testimony. And it's misleading.
               13          And to the extent that it calls for the
     6         14    disclosure of unpublished information. Instruct the
     7         15    witness not to answer on the grounds of the reporter's
               16    privilege and the reporter's shield. Otherwise, he may
     8         17    do so.
     9         18          THE WITNESS: On the advice of my attorney, I'm
               19    not answering that question.
    10
    11
         17.   Page 157, Line 13 to Page 158, Line 12
    12
               13       My question to you, to be very specifically --
    13         14 excuse me -- very specific, is, Was it or was it not
    14         15 important to you in October 2017 that you accurately
               16 conveyed to Mr. Spacey's team the allegations as
    15         17 Mr. Rapp told them to you?
    16         18     A. On the advice of my --
               19       MR. JASSY: Hang on.
    17         20       Objection. Asked and answered. Same
    18         21 objection. Same instructions as the last two questions.
               22       THE WITNESS: On advice of my attorney, I'm not
    19         23 answering that question.
    20         24 BY MR. SCOLNICK:
               25     Q. Did you accurately convey the content of the
    21         00158
                1 allegations that Mr. Rapp provided to you?
    22
                2       MR. JASSY: Objection. Vague.
    23          3       MR. SAGHIR: Objection.
                4       MR. JASSY: To the extent that it calls for the
    24          5 disclosure of information protected from disclosure by
    25          6 the reporter's shield and the reporter's privilege,
                7 instruct the witness not to answer. Otherwise, he can
    26          8 answer the question.
    27          9       MR. SAGHIR: Join. Objection. Vague.
               10 Overbroad.
    28         11        THE WITNESS: On the advice of my attorney, I'm
               12 not answering the question.
                                                   17
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 22 of 116 Page ID #:25


     1 18.    Page 159, Line 9 to Page 160, Line 23?
     2         9       So here's my question. Did you believe that in
     3        10 this e-mail that's on our screen at the bottom of
              11 Exhibit 112 that it was important to accurately convey
     4        12 Mr. Rapp's allegations as he told them to you, to
     5        13 Mr. Fowler's team?
              14        MR. JASSY: Asked and answered I think for the
     6        15 fifth time. And to the extent it calls for the
     7        16 disclosure of unpublished information, I -- or is asking
              17 for -- or hinting at that there is unpublished
     8        18 information that you're trying to get at, also lacks
     9        19 foundation.
              20        I instruct the witness not to answer on the
    10        21 basis of the reporter's privilege and the reporter's
              22 shield. Otherwise, he can answer the question.
    11
              23        THE WITNESS: On advice of my attorney, I'm not
    12        24 answering that question.
              25 ///
    13        00160
    14         1 BY MR. SCOLNICK:
               2     Q. Okay. So let's look at the text of the e-mail.
    15         3       Is it big enough for you to see?
    16         4     A. Yes.
               5     Q. Okay. You said, starting the second sentence,
    17         6 "The facts in this story are based on primary accounts
    18         7 from Anthony Rapp, but we wanted to take this step to
               8 ensure that there is no confusion about what we plan to
    19         9 publish to give you a fair opportunity to correct any
    20        10 perceived errors or otherwise respond to our reporting."
              11        Did I read that correctly?
    21        12     A. Yes.
              13     Q. This was the same day that this article would
    22
              14 be published; right?
    23        15     A. According to the time stamp, yes, it was.
              16     Q. And it was also several weeks after Mr. Rapp
    24        17 first approached you with his allegations; right?
    25        18     A. Three weeks later, yes.
              19     Q. It was after you had the opportunity to prepare
    26        20 a first draft; right?
    27        21     A. Yes.
              22     Q. Is that a yes?
    28        23     A. Yes. Correct.

                                                 18
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 23 of 116 Page ID #:26


     1 19.     Page 164, Lines 6 to 16
     2         6        Q. Why didn't you reach out earlier to
     3         7    Mr. Fowler's team to ask for a response? What I mean by
               8    "earlier" is before October 28th.
     4         9          MR. JASSY: Objection. Lacks foundation. And
     5         10    to the extent it calls for the disclosure of unpublished
               11    information, object based on the reporter's privilege
     6         12    and reporter's shield.
     7         13          Instruct the witness not to answer. Otherwise,
               14    he may do so.
     8         15          THE WITNESS: On the advice of my counsel, I'm
     9         16    not responding to that question.

    10
         20.   Page 166, Lines 13 to 25
    11
    12         13      Q. Was it your choice to contact Mr. Fowler's team
               14   and include the details of Mr. Rapp's allegations for
    13         15   the first time on the day the article was to be
    14         16   published?
               17          MR. JASSY: Objection. Lacks foundation.
    15         18   Misstates prior testimony. And to the extent it calls
    16         19   for the disclosure of unpublished information, I object
               20   on the basis of the reporter's shield and the reporter's
    17         21   privilege.
    18         22          Instruct the witness not to answer. Otherwise,
               23   he may do so.
    19         24          THE WITNESS: On the advice of my attorney, I'm
    20         25   not answering that question.

    21
         21.   Page 167, Lines 2 to 20
    22
    23         2        Q. Last sentence of Point 1 you said, "Rapp
               3    alleges that, the best of his recollection, he has never
    24
               4    heard from nor spoken with Spacey since that night
    25         5    besides seeing him on the set of the film of 'Six
               6    Degrees of Separation' and seeing him again before the
    26         7    1999 Tony Awards."
    27         8           Did I read that correctly?
               9        A. You did.
    28         10       Q. Isn't it true that Mr. Rapp told you that he
               11    last saw Mr. Fowler at the two thousand -- at the 2008
                                                     19
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 24 of 116 Page ID #:27


     1         12   awards ceremony?
               13         MR. JASSY: Object on the basis -- or I object
     2         14   to the extent that it calls for disclosure of
     3         15   unpublished information based on the reporter's
               16   privilege and the reporter's shield.
     4         17         But to the extent that Mr. Vary believes he can
     5         18   testify on it, he may.
               19         THE WITNESS: On the advice of my attorney, I
     6         20   am not going to answer that question.
     7
     8 22.     Page 167, Line 22 to Page 168, Line 8
     9
               22     Q. Were you concerned in this e-mail, when you
    10         23 wrote it to Mr. Fowler's team, that you were not
               24 accurately conveying what Mr. Rapp had told you?
    11
               25        MR. JASSY: Objection. Misstates prior
    12         00168
                1 testimony. Lacks foundation. And to the extent it
    13          2 calls for the disclosure of unpublished information, I
    14          3 object on the basis of the reporter's shield and
                4 reporter's privilege.
    15          5       Instruct the witness not to answer. Otherwise,
    16          6 he may.
                7        THE WITNESS: On the advice of my attorney, I'm
    17          8 not answering that question.
    18
    19 23.     Page 170, Lines 2 to 10
    20
               2       Q. Did you refer to your correspondence to
    21         3    Mr. Fowler's team as a no-surprise e-mail?
               4          MR. JASSY: Objection to the extent it calls
    22
               5    for the disclosure of unpublished information.
    23         6          I instruct the witness not to answer on the
               7    grounds of the reporter's privilege send the reporter's
    24         8    shield. Otherwise, he may do so.
    25         9          THE WITNESS: On the advice of my attorney, I
               10    am not responding to that question.
    26
    27
         24.   Page 171, Line 20 to Page 172, Line 5
    28
               20      Q. If a no-surprise e-mail is, as you said, good
                                                     20
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 25 of 116 Page ID #:28


     1         21 journalism, then why did you not send a no-surprise
               22 e-mail before October 29, 2017?
     2         23       MR. JASSY: Objection. Lacks foundation.
     3         24       To the extent that it calls for disclosure of
               25 unpublished information based on the reporter's shield
     4         00172
     5          1 and the reporter's privilege, I instruct the witness not
                2 to answer. Otherwise, he may answer the question.
     6          3       MR. SAGHIR: Join.
     7          4       THE WITNESS: On advice of my attorney, I'm not
                5 answering that question.
     8
     9
         25.   Page 173, Line 24 to Page 174, Line 18
    10
               24     Q. Mr. Vary, you learned the identity of
    11
               25 Mr. Rapp's friend from Joliet before this article
    12         00174
                1 published; right?
    13          2       MR. JASSY: To the extent it calls for the
    14          3 disclosure of unpublished information, instruct the
                4 witness not to answer based on the reporter's privilege
    15          5 and the reporter's shield. Otherwise, he may do so.
    16          6       THE WITNESS: On the advice of my attorney, I'm
                7 not answering that question.
    17          8 BY MR. SCOLNICK:
    18          9    Q. Mr. Rapp told you before you published this
               10 article that his friend from Joliet was a man named John
    19         11 Barrowman; right?
    20         12       MR. JASSY: Objection.
               13       To the extent it calls for the disclosure of
    21         14 unpublished information, instruct the witness not to
               15 answer on the grounds of the reporter's privilege and
    22
               16 the reporter's shield. Otherwise, he may do so.
    23         17       THE WITNESS: On the advice of my attorney, I
               18 am declining to answer that question.
    24
    25
         26.   Page 177, Line 7 to Page 178, Line 21
    26
    27         7    Q. Have you ever tried Googling Mr. Barrowman to
               8 determine his birthday?
    28         9      MR. JASSY: Objection.
               10      To the extent it calls for the disclosure of
                                                   21
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 26 of 116 Page ID #:29


     1        11 unpublished information protected from disclosure by
              12 the -- and news-gathering information protected from
     2        13 disclosure by the reporter's shield and reporter's
     3        14 privilege, I instruct the witness not to answer.
              15 Otherwise, he may do so.
     4        16        THE WITNESS: I -- on the advice of my
     5        17 attorney, I decline to answer.
              18 BY MR. SCOLNICK:
     6        19     Q. Mr. Rapp, if you knew that John Barrowman was
     7        20 actually a 19-year-old man in 1986, would you have
              21 included these details claiming that he was a
     8        22 17-year-old boy in your story?
              23        MR. JASSY: Objection. Lacks foundation.
     9
              24 Misstates prior testimony. Best Evidence Rule.
    10        25        To the extent it calls for -- and
              00178
    11
               1 argumentative.
    12         2       To the extent it calls for disclosure of
               3 unpublished information, instruct the witness not to
    13         4 answer on the basis of reporter's privilege and the
    14         5 reporter's shield. Otherwise, he may do so.
               6       THE WITNESS: On the advice of my attorney, I
    15         7 decline to answer.
    16         8 BY MR. SCOLNICK:
               9    Q. Do you think it's important -- how about this.
    17        10 Did you think in 2017 that it was important that you get
    18        11 the age of Mr. Rapp's friend, as you referred to in the
              12 story, correct before going to print?
    19        13        MR. JASSY: Objection.
              14        To the extent it calls for the disclosure of
    20
              15 unpublished information protected from the disclosure by
    21         16 the reporter's shield and reporter's privilege, instruct
               17 the witness not to answer. Otherwise, he may do so.
    22
               18       And I'll also object that it lacks foundation
    23         19 and it's argumentative.
               20       THE WITNESS: On the advice of my attorney, I
    24         21 decline to answer.
    25
    26 27.    Page 179, Lines 13 to 20
    27
              13   Q. Okay. So, Mr. Vary, if you knew that John
    28        14 Barrowman was actually 19 -- a 19-year-old man in 1986,
              15 would you have included the details in your story that
                                                 22
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 27 of 116 Page ID #:30


     1         16 he was only a 17-year-old boy?
               17       MR. JASSY: Same objections and same
     2         18 instructions as the last question.
     3         19       THE WITNESS: On advice of my attorney, I am
               20 declining to answer that question.
     4
     5
         28.   Page 180, Line 8 to Page 181, Line 16
     6
     7          8     Q. Has anyone told you, after publishing this
                9 article, that Mr. Barrowman was actually 19 years old in
     8         10 1986?
     9         11         MR. JASSY: Objection.
               12         To the extent it calls for disclosure of
    10         13 unpublished information, instruct the witness not to
               14 answer on the grounds of reporter's privilege and the
    11
               15 reporter's shield. Otherwise, he may do so.
    12         16         THE WITNESS: On the advice of my attorney, I
               17 am declining to answer that question.
    13         18         MR. JASSY: I assume you mean other than you,
    14         19 Chase, in your representations in this deposition;
               20 right?
    15         21         MR. SCOLNICK: Thank you. Yes.
    16         22 BY MR. SCOLNICK:
               23      Q. Other than me today, has anyone told you, after
    17         24 publishing this article -- or at any time that
    18         25 Mr. Barrowman was actually a 19-year-old man in 1986?
               00181
    19          1        MR. JASSY: Same objection. Same instruction.
    20          2        THE WITNESS: On the advice of my attorney, I'm
                3 declining to answer that question.
    21          4 BY MR. SCOLNICK:
                5     Q. If you would have known at the time of
    22
                6 publishing this article that Mr. Barrowman was a
    23          7 19-year-old man and not a 17-year-old boy, would you
                8 still have published the details as you did and included
    24          9 in the story?
    25         10         MR. JASSY: Objection. Calls for speculation.
               11 Lacks foundation.
    26         12         To the extent that it calls for the disclosure
    27         13 of unpublished information, instruct the witness not to
               14 answer. Otherwise, he may do so.
    28         15         THE WITNESS: Advice of my attorney, I'm
               16 declining to answer this question.
                                                   23
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 28 of 116 Page ID #:31


     1 29.    Page 182, Line 14 to Page 184, Line 1
     2        14     Q. In the approximately three weeks between
     3        15 Mr. Rapp first telling you his story and you publishing
              16 it, what, if any, attempts did you make to reach out to
     4        17 Mr. Barrowman and ask him to corroborate or contradict
     5        18 Mr. Rapp's account?
              19        MR. JASSY: Objection.
     6        20        To the extent it calls for the disclosure of
     7        21 unpublished information, instruct the witness not to
              22 answer on the basis of the reporter's privilege and the
     8        23 reporter's shield. Otherwise, he may answer.
     9        24        THE WITNESS: The advice of my attorney, I'm
              25 declining to answer that question.
    10        00183
               1 BY MR. SCOLNICK:
    11
               2     Q. Did you think Mr. Fowler deserved, before you
    12         3 publishing this story, in that three-week period of
               4 time, that you go out and attempt to verify what
    13         5 Mr. Rapp was telling you by contacting a percipient
    14         6 witness from 1986?
               7       MR. JASSY: Objection. Lacks foundation.
    15         8 Argumentative.
    16         9       To the extent it calls for the disclosure of
              10 unpublished information, instruct the witness not to
    17        11 answer on the grounds of the reporter's privilege and
    18        12 the reporter's shield. Otherwise, he may answer.
              13        THE WITNESS: On the advice of my attorney, I
    19        14 am declining to answer that question.
    20        15 BY MR. SCOLNICK:
              16     Q. What, if any, attempts did you make to
    21        17 interview Mr. Barrowman before you published this story
              18 with Mr. Rapp's allegations?
    22
              19        MR. JASSY: Objection. Asked and answered. To
    23        20 the extent it calls for disclosure of unpublished
              21 information protected from disclosure by the attorney --
    24        22 excuse me -- by the reporter's shield or the reporter's
    25        23 privilege, I instruct the witness not to answer.
              24 Otherwise, he may answer.
    26        25        THE WITNESS: On the advice of my attorney, I'm
    27        00184
               1 declining to answer that question.
    28

                                                  24
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 29 of 116 Page ID #:32


     1 30.     Page 184, Line 17 to Page 185, Line 13
     2         17        Has anyone informed you that Mr. Barrowman has
     3         18 been deposed in this case?
               19        MR. JASSY: Objection.
     4         20        To the extent it calls for disclosure of
     5         21 attorney-client privileged communications, I instruct
               22 the witness not to answer.
     6         23        THE WITNESS: On the advice of my attorney, I'm
     7         24 not responding to that question.
               25 ///
     8         00185
     9          1 BY MR. SCOLNICK:
                2     Q. Has anyone informed you that Mr. Barrowman
    10          3 denies sitting in a VIP area with Mr. Rapp and
                4 Mr. Fowler at the Limelight in 1986?
    11
                5       MR. JASSY: Objection.
    12          6       To the extent it calls for the disclosure of
                7 attorney-client privileged communications or unpublished
    13          8 information obtained in the course of news-gathering,
    14          9 instruct the witness not to answer on the grounds of the
               10 reporter's privilege and the reporter's shield.
    15         11 Otherwise, he can answer.
    16         12        THE WITNESS: On the advice of my attorney, I'm
               13 declining to answer that question.
    17
    18
         31.   Page 188, Lines 7 to 16
    19
    20         7       Q. Did Mr. Rapp tell you that he had been to
               8    Mr. Fowler's apartment more than once?
    21         9         MR. JASSY: Objection.
               10         To the extent it calls for disclosure of
    22
               11   unpublished information, I object based on the
    23         12   attorney -- excuse me -- the -- the reporter's privilege
               13   and the reporter's shield and instruct with the witness
    24         14   not to answer. Otherwise, he may.
    25         15         THE WITNESS: On the advice of my attorney, I'm
               16   not responding to that question.
    26
    27
         32.   Page 188, Line 25 to Page 189, Line 9
    28
               25      Q. Did Mr. Rapp tell you that he and John
                                                   25
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 30 of 116 Page ID #:33


     1         00189
                1 Barrowman and Mr. Fowler went back to Mr. Fowler's
     2          2 studio apartment after the Limelight?
     3          3       MR. JASSY: Objection.
                4       To the extent it calls for the disclosure of
     4          5 unpublished information, instruct the witness not to
     5          6 answer based on the reporter's privilege and the
                7 reporter's shield. And otherwise, he may do so.
     6          8       THE WITNESS: On the advice of my attorney, I'm
     7          9 not responding to that question.

     8
     9 33.     Page 199, Line 20 to Page 200, Line 7

    10         20     Q. What about getting a floor plan of the
               21 apartment? Is that something you're able to do in -- in
    11
               22 2017, when you were told by Mr. Rapp that Mr. Fowler's
    12         23 apartment had a bedroom?
               24        MR. JASSY: Objection. Calls for speculation.
    13         25 Lacks foundation. And to the extent that it calls for
    14         00200
                1 the disclosure of -- of unpublished information or
    15          2 news-gathering information, object on the reporter's
    16          3 privilege and the reporter's shield.
                4       Instruct the witness not to answer. But he
    17          5 may, if he's able to.
    18          6       THE WITNESS: On the advice of my attorney, I
                7 am declining to respond to that question.
    19
    20
         34.   Page 200, Line 22 to Page 201, Line 10
    21
               22     Q. I think to clarify that last question, let me
    22
               23 ask it again.
    23         24        If you would have known in October of 2017 that
               25 Mr. Fowler's apartment in 1986 did not -- did not have a
    24         00201
    25          1 bedroom, would you have still published this story?
                2       MR. JASSY: Objection. Calls for speculation.
    26          3 Incomplete hypothetical. Lacks foundation. And to the
    27          4 extent that it calls for disclosure of unpublished
                5 information, I object on the basis of a reporter's
    28          6 privilege and the reporter's shield.
                7       Instruct the witness not to answer. Otherwise,
                                                   26
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 31 of 116 Page ID #:34


     1        8 he may answer the question.
              9       THE WITNESS: On the advice of my attorney, I'm
     2        10 declining to respond to that question.
     3
     4 35.    Page 202, Lines 11 to 20
     5
              11      Q. Did Mr. Rapp identify any witnesses who could
     6        12   put him at this alleged party at Mr. Fowler's apartment?
     7        13         MR. JASSY: Objection.
              14         To the extent it calls for the disclosure of
     8        15   unpublished information, I object on the basis of the
     9        16   reporter's privilege and the reporter's shield and
              17   instruct the witness not to answer. But you may
    10        18   otherwise answer the question.
              19         THE WITNESS: On the advice of my attorney, I'm
    11
              20   not responding to that question.
    12
    13 36.    Page 203, Lines 9 to 19
    14
              9      Q. Did Mr. Rapp provide the description of any
    15        10   witness who allegedly saw him at a party at Mr. Fowler's
    16        11   apartment?
              12         MR. JASSY: Objection. To the extent it calls
    17        13   for the disclosure of unpublished information, object
    18        14   based on the reporter's privilege and the reporter's
              15   shield.
    19        16         Instruct the witness not to answer. Otherwise,
    20        17   he may answer the question.
              18         THE WITNESS: On the advice of my attorney, I'm
    21        19   not responding to that question.
    22
    23 37.    Page 204, Line 22 to Page 205, Line 6
    24
              22    Q. And what details did she provide about
    25        23 Mr. Rapp's account that he allegedly told her in 1992?
              24       MR. JASSY: Objection.
    26        25       To the extent it calls for the disclosure of
    27        00205
               1 unpublished information, I instruct the witness not to
    28         2 answer on the basis of the reporter's privilege and the
               3 reporter's shield. Otherwise, he may answer the
                                                  27
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 32 of 116 Page ID #:35


     1         4 question.
               5       THE WITNESS: On advice of my attorney, I'm not
     2         6 responding to that question.
     3
     4 38.    Page 205, Line 19 to Page 206, Line 19
     5
              19     Q. Did you interview any witnesses who saw
     6        20 Mr. Rapp interact with Mr. Fowler in 1986?
     7        21        MR. JASSY: Objection.
              22        To the extent it calls for the disclosure of
     8        23 unpublished information, instruct the witness not to
     9        24 answer on the basis for the reporter's privilege and the
              25 reporter's shield. Otherwise, he may answer the
    10        00206
               1 question.
    11
               2       THE WITNESS: On the advice of my attorney, I'm
    12         3 declining to respond to that question.
               4 BY MR. SCOLNICK:
    13         5     Q. Did you interview anyone who -- to whom
    14         6 Mr. Rapp told his allegations at around the time of --
               7 well, in the -- in 1986 or 1987 -- strike that. I can
    15         8 ask the question a little bit cleaner.
    16         9       Did you interview anyone who confirmed to you
               10 that Mr. Rapp shared with them his allegations against
    17         11 Mr. Fowler at or around the time that the allegations
    18         12 allegedly occurred?
               13       MR. JASSY: Objection. Vague.
    19         14       To the extent that it calls for the disclosure
    20         15 of information protected by the reporter's shield and
               16 the reporter's privilege, I instruct the witness not to
    21         17 answer. Otherwise, he may do so.
               18       THE WITNESS: On the advice of my attorney, I'm
    22
               19 declining to respond to that question.
    23
    24 39.    Page 207, Line 20 to Page 208, Line 4
    25
              20    Q. Did Mr. Rapp tell you what details Anthony
    26        21 provided at this party?
    27        22      MR. JASSY: Objection.
              23      To the extent it calls for the disclosure of
    28        24 unpublished information, instruct the witness not to
              25 answer on the basis of the reporter's privilege and the
                                                  28
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 33 of 116 Page ID #:36


     1         00208
                1 reporter's shield. Otherwise, he may answer the
     2          2 question.
     3          3       THE WITNESS: On the advice of my attorney, I'm
                4 declining to respond to that question.
     4
     5
         40.   Page 209, Lines 11 to 21
     6
     7         11      Q. Well, Mr. Rapp's telling you here in writing
               12   that it was John Barrowman that went to the Limelight
     8         13   with Mr. Fowler and Mr. Rapp; right?
     9         14          MR. JASSY: Objection.
               15          To the extent that it's asking for the
    10         16   disclosure of unpublished information protected from
               17   disclosure by the reporter's shield and reporter's
    11
               18   privilege, instruct the witness not to answer.
    12         19   Otherwise, he can answer the question.
               20          THE WITNESS: On the advice of my attorney, I'm
    13         21   not responding to that question.
    14
    15 41.     Page 210, Lines 11 to 21
    16
               11       Q. Mr. Vary, did Mr. Rapp ever tell you that you
    17         12   shouldn't share the details of what he told you about
    18         13   his interactions with Mr. Fowler and Mr. Barrowman?
               14         MR. JASSY: Objection. Lacks foundation. And
    19         15   to the extent it calls for the disclosure of unpublished
    20         16   information, object on the basis of the reporter's
               17   shield and the reporter's privilege.
    21         18         Instruct the witness not to answer, unless he's
               19   otherwise able to do so.
    22
               20         THE WITNESS: On the advice of my attorney, I
    23         21   am declining to respond to that question.
    24
    25 42.     Page 213, Lines 4 to 14
    26          4    Q. At no point did Mr. Rapp tell you he had
    27          5 trouble remembering the details of his allegations, did
                6 he?
    28          7       MR. JASSY: Objection. Lacks foundation.
                8       And to the extent it's asking for unpublished
                                                    29
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 34 of 116 Page ID #:37


     1        9    information -- I'm not sure that it is; but if it is, I
              10    instruct the witness not to answer on the basis of the
     2        11    reporter's shield and reporter's privilege. But
     3        12    otherwise, he can answer the question, if he's able.
              13          THE WITNESS: No. On the advice of my
     4        14    attorney, I am declining to respond to that question.
     5
     6 43.    Page 213, Line 16 to Page 215, Line 2
     7
              16      Q. Looking at the top of Page 46. I asked you
     8        17 earlier about Mr. Rapp's statement, "He didn't tell the
     9        18 rest of the story, though." When I asked you what you
              19 meant by that, you said the rest of the story that
    10        20 appears in the article. So I'm trying to figure out
              21 here what you believe Mr. Barrowman knew about the rest
    11
              22 of -- I'm sorry. Strike that.
    12        23        I'm trying to figure out what you believe
              24 Mr. Barrowman knew beyond what appears in the -- in the
    13        25 -- in the prior sentence, which is that Mr. Barrowman
    14        00214
               1 went to the Limelight with Mr. Rapp and Mr. Fowler.
    15         2       What beyond that was the rest of the story?
    16         3       MR. JASSY: Objection. Compound. And
               4 misleading. Misstates prior testimony. Lacks
    17         5 foundation. And to the extent it calls for the
    18         6 disclosure of unpublished information, I object on the
               7 basis of the reporter's shield and reporter's privilege.
    19         8       Instruct the witness not to answer. Otherwise,
    20         9 he may do so.
              10        THE WITNESS: On the advice of my attorney, I'm
    21        11 declining to respond to that question.
              12 BY MR. SCOLNICK:
    22
              13      Q. Let me ask the question more cleanly.
    23        14        What else did Mr. Rapp tell you about his
              15 interactions with Mr. Barrowman and Mr. Fowler?
    24        16        MR. JASSY: Objection. Lacks foundation. And
    25         17 to the extent that it calls for the disclosure of
               18 unpublished information, which I think it does, the
    26         19 objection is based on the reporter's shield, the
    27         20 reporter's privilege.
               21       And I instruct the witness not to answer,
    28         22 unless he's otherwise able.
               23       MR. SAGHIR: Objection. No foundation.
                                                     30
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 35 of 116 Page ID #:38


     1         24       MR. JASSY: Sorry. I thought I said that one
               25 too. I join in that.
     2         00215
     3          1       THE WITNESS: On the advice of my attorney, I'm
                2 declining to respond to that question.
     4
     5
         44.   Page 217, Line 11 to Page 221, Line 12
     6
     7         11     Q. What are the details about the party that you
               12 steered away from in your article?
     8         13        MR. SAGHIR: Objection. Assumes facts not in
     9         14 evidence. Argumentative. No foundation.
               15        MR. JASSY: Join in all those objections.
    10         16        And to the extent that it calls for the
               17 disclosure of unpublished information, instruct the
    11
               18 witness not to answer on the basis of the reporter's
    12         19 shield and the reporter's privilege. And -- otherwise,
               20 he's free to answer the question.
    13         21        THE WITNESS: On the basis on the advice of my
    14         22 attorney, I'm -- I'm electing not to respond to that
               23 question. I will, I believe, refer to earlier testimony
    15         24 I gave in which I indicated that Anthony's best
    16         25 recollection -- you know, what -- what -- what Anthony
               00218
    17          1 told me about the party is what is published.
    18          2 BY MR. SCOLNICK:
                3    Q. Are you willing to tell me any details about
    19          4 what Mr. Rapp told you about his version of events
    20          5 outside of what you published in your -- in your
                6 story -- in your article?
    21          7       MR. SAGHIR: Objection. No foundation.
                8       MR. JASSY: Join in that objection.
    22
                9       THE WITNESS: I would just reiterate the
    23         10 objections that my attorney's been making as far as the
               11 reporter's shield law. I am here to talk about what was
    24         12 published in the story.
    25         13 BY MR. SCOLNICK:
               14     Q. So is that -- I just want to make sure the
    26         15 record's clear. Are you refusing to answer based on
    27         16 your attorney's objection for the reporter's shield law
               17 statements that Mr. Rapp has made to you that were
    28         18 unpublished?
               19        MR. SAGHIR: Objection. Lacks foundation.
                                                  31
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 36 of 116 Page ID #:39


     1        20       MR. JASSY: It lacks foundation. And I think I
              21 know what you're getting at -- but the -- I'm still
     2        22 going to raise the objection that it call -- to the
     3        23 extent that it calls for the disclosure of unpublished
              24 information, I would instruct the witness not to answer
     4        25 on the basis of the shield and the privilege --
     5        00219
               1 reporter's shield and reporter's privilege. Otherwise,
     6         2 he can answer the question.
     7         3       THE WITNESS: I am following the best advice of
               4 my attorney to decline to respond to questions about
     8         5 unpublished material.
               6 BY MR. SCOLNICK:
     9
               7    Q. Okay. Did you make an audio recording of any
    10         8 of your interviews with Mr. Rapp?
               9       MR. JASSY: Objection.
    11
              10       To the extent that it calls for the disclosure
    12        11 of news-gathering techniques protected from disclosure
              12 by the reporter's privilege and the reporter's shield, I
    13        13 instruct the witness not to answer on the grounds -- the
    14        14 reporter's privilege and reporter's shield. Otherwise,
              15 if he can answer the question, he may.
    15        16       THE WITNESS: In the best advice of my
    16        17 attorney, I'm declining to respond to that question.
              18 BY MR. SCOLNICK:
    17        19     Q. Did you take notes during any of your
    18        20 interviews with Mr. Rapp?
              21       MR. JASSY: Objection.
    19        22       To the extent that it calls for the disclosure
              23 of news-gathering information that's unpublished, which
    20
              24 it does, instruct the witness not to answer on the basis
    21        25 of the reporter's shield and reporter's privilege.
              00220
    22
               1 Otherwise, he can answer the question.
    23         2       THE WITNESS: The advice of my attorney, I'm
               3 declining to respond to that question.
    24         4 BY MR. SCOLNICK:
    25         5    Q. Did Mr. Rapp tell you how many people were at
               6 the party -- the alleged party at Mr. Fowler's house?
    26         7       MR. JASSY: Objection.
    27         8       To the extent calls for the disclosure
               9 unpublished information, instruct the witness not to
    28        10 answer on the basis of the reporter's shield and the
              11 reporter's privilege. Otherwise, he can answer the
                                                 32
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 37 of 116 Page ID #:40


     1        12 question.
              13       THE WITNESS: On the advice of my attorney, I'm
     2        14 declining to respond to that question.
     3        15 BY MR. SCOLNICK:
              16     Q. Did Mr. Rapp refer to the event that allegedly
     4        17 occurred at Mr. Fowler's house as a gathering or a party
     5        18 or some other word?
              19       MR. JASSY: Objection.
     6        20       To the extent it calls for disclosure of
     7        21 unpublished information, I instruct the witness not to
              22 answer on the grounds of the reporter's privilege and
     8        23 the reporter's shield. Otherwise, he can answer the
              24 question.
     9
              25       THE WITNESS: On the advice of my attorney, I'm
    10        00221
               1 declining to respond to that question.
    11
               2 BY MR. SCOLNICK:
    12         3    Q. Did Mr. Rapp tell you whether Mr. Fowler had a
               4 dog at his apartment?
    13         5       MR. JASSY: Objection. Calls for the
    14         6 disclosure -- to the extent that it calls for the
               7 disclosure of unpublished information, instruct the
    15         8 witness not to answer on the basis of the reporter's
    16         9 shield and the reporter's privilege. Otherwise, he can
              10 answer the question.
    17        11       THE WITNESS: On the advice of my attorney, I'm
    18        12 declining to respond to that question.

    19
    20 45.    Page 228, Line 24 to Page 229, Line 13

    21        24     Q. Did you speak with Mr. Dawes, or did someone
              25 else on your team?
    22
              00229
    23         1       MR. JASSY: To the extent it calls for the
               2 disclosure of news-gathering information that's not
    24         3 published, instruct the witness not to answer on the
    25         4 grounds of the reporter's shield and the reporter's
               5 privilege. Otherwise, he can answer the question.
    26         6       THE WITNESS: This is not a section of the
    27         7 article that I authored.
               8 BY MR. SCOLNICK:
    28         9     Q. To your recollection, have you ever
              10 communicated with Mr. Dawes?
                                                 33
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 38 of 116 Page ID #:41


     1        11       MR. JASSY: Objection. Same instruction.
              12       THE WITNESS: On the advice of my attorney, I'm
     2        13 not responding to that question.
     3
     4 46.    Page 230, Line 17 to Page 231, Line 1
     5
              17    Q. What, if any, investigation did you conduct
     6        18 regarding Mr. Dawes's allegations against Mr. Fowler?
     7        19       MR. JASSY: Objection. Asked and answered.
              20       And to the extent that it calls for the
     8        21 disclosure of information protected from disclosure by
     9        22 the reporter's shield and the reporter's privilege,
              23 instruct the witness not to answer. But otherwise, he
    10        24 may.
              25       THE WITNESS: On the advice of my attorney, I'm
    11
              00231
    12         1 declining to respond to that question.
    13
    14 47.    Page 275, Line 14 to Page 276, Line 17
    15        14     Q. Why did you not inform your readers that you
    16        15 informed Mr. Fowler's camp for the first time of the
              16 nature of the allegations and identity of the accuser
    17        17 just hours before the article was published?
    18        18        MR. JASSY: Objection. Lacks foundation.
              19        And to the extent it calls for the disclosure
    19        20 of news-gathering information or unpublished information
    20        21 that is protected from disclosure by the reporter's
              22 privilege or the reporter's shield, I instruct the
    21        23 witness not to answer. But otherwise, he can do so, if
              24 he's able.
    22
              25        THE WITNESS: On the advice of my attorney, I
    23        00276
               1 am not responding to that question.
    24         2 BY MR. SCOLNICK:
    25         3     Q. Did you think it was important for the public
               4 to know that you reached out to Mr. Fowler's camp and
    26         5 informed them of the allegations and the identity of the
    27         6 accuser hours before the story was published?
               7       MR. JASSY: Objection.
    28         8       To the extent that it calls for the disclosure
               9 of information that is protected from disclosure by the
                                                  34
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 39 of 116 Page ID #:42


     1          10   reporter's privilege, Reporter's shield, instruct the
                11   witness not to answer. Otherwise, he can do so.
     2          12         And I also object that it lacks foundation.
     3          13         MR. SAGHIR: Join in the objection as to no
                14   foundation.
     4          15         THE WITNESS: Based on my best -- based on
     5          16   advice of my attorney, I am declining to respond to that
                17   question.
     6
     7         B.     Moving Party Mr. Fowler’s Statement
     8         Mr. Vary’s counsel’s deposition objections and instructions not to answer were
     9 made on two primary grounds. First, Mr. Vary objected that the subject of the questions
    10 was protected under a qualified “reporter’s privilege” under the First Amendment.
    11 Second, Mr. Vary objected that California’s “reporter’s shield” provided protection that
    12 justified his refusal to provide this discovery. These objections have no merit.
    13         The Court can and should find Mr. Vary to be in contempt and issue appropriate
    14 sanctions unless Mr. Vary provides a complete production of documents and sits for a
    15 supplemental deposition within five (5) business days of the Court’s order on this motion
    16 to answer the questions he refused to answer at the first session of his deposition plus all
    17 reasonable follow-up questions. See, e.g., Fed. R. Civ. P. 45(g) (stating district court
    18 “where compliance is required . . . .may hold in contempt a person who, having been
    19 served, fails without adequate excuse to obey [a] subpoena or an order related to it”).
    20                1.     Mr. Vary’s Objections Based On Qualified Protection Under
                             the First Amendment Are Without Merit
    21
    22         Mr. Vary first argues the First Amendment provides qualified protection for his
    23 “newsgathering activities.” He relies on the Ninth Circuit’s opinion in Shoen v. Shoen,
    24 5 F.3d 1289 (9th Cir. 1993) for his broad assertion that First Amendment justifies his
    25 blanket objection under these circumstances.
    26         As an initial matter, Mr. Vary has failed to demonstrate the questions he refused
    27 to answer concern his protected newsgathering. While Mr. Vary wrote an article on
    28 Rapp’s allegations against Mr. Fowler in October 2017 and a follow-up article a year

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 40 of 116 Page ID #:43


     1 later in 2018, Mr. Vary has known Rapp for over two decades. Mr. Vary acknowledges
     2 he and Rapp are friends and remain friends. See Scolnick Decl., Ex. 1 (Vary Depo. RT
     3 at 58:21-25, 60:17-18, 66:3-7). Mr. Vary cannot use a qualified privilege under the First
     4 Amendment to broadly protect all of his communications with Rapp other than what he
     5 explicitly included in his two articles.
     6         Further, the First Amendment protection – even when broadly interpreted –applies
     7 to a reporter’s “source materials.” Schoen, 5 F.3d at 1295. Here, Mr. Vary refused to
     8 answer many questions at deposition about his own thought processes and actions in
     9 preparing articles about Rapp’s allegations against Mr. Fowler. See, e.g., Dillon v. City
    10 and County of San Francisco, 748 F.Supp. 722, 726 (N. D. Cal. 1990) (finding non-party
    11 could be compelled to testify about personal observations). Such information is relevant
    12 and important because Rapp likely will attempt to present evidence at trial about the
    13 Buzzfeed article that contains the allegations upon which his claims are based. Rapp
    14 likely will attempt to claim the account contained in the Buzzfeed article is consistent
    15 with that given at his deposition and at trial. But the evidence suggests Rapp made
    16 various statements to Mr. Vary inconsistent with the version of events about which he
    17 testified at deposition.
    18         Throughout discovery, Rapp also has mischaracterized Mr. Fowler’s response to
    19 Mr. Vary’s request for comment on his Buzzfeed article. Mr. Vary’s text exchanges with
    20 Rapp demonstrate Mr. Vary concealed material inconsistencies in Rapp’s account and
    21 misrepresented material facts when seeking Mr. Fowler’s comment.             By his own
    22 admission in text exchanges with Rapp, Mr. Vary changed Rapp’s account to deprive
    23 Mr. Fowler of a fair and adequate opportunity to respond to the demonstrably false details
    24 of Rapp’s account. Evidence of Mr. Vary’s attempt to deceive Mr. Fowler and deprive
    25 him of an opportunity to comment on the story—all in concert with Rapp—is essential
    26 to Mr. Fowler’s defense and beyond the scope of legitimate journalistic activity protected
    27 by the First Amendment.
    28

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 41 of 116 Page ID #:44


     1         Further, Mr. Vary has not and cannot show he did not affirmatively waive the
     2 protection he now asserts. Importantly, some of the unpublished communications
     3 between Mr. Vary and Rapp – or at least some of their text message communicated –
     4 previously were produced in this case by Rapp, with Mr. Vary’s knowledge and implicit
     5 consent. More specifically, Mr. Vary testified he was informed by Rapp’s lawyers in
     6 early 2021 that Rapp intended to produce various text messages between Rapp and Mr.
     7 Vary, including back-and-forth between them leading to the finalization and publication
     8 of Mr. Vary’s Buzzfeed article. See Scolnick Decl., Ex. 1 (Vary Depo. Tr.) at 12:19-
     9 13:7, 14:24-15:4, 28:16-23.) Mr. Vary was told those communications would be
    10 produced, and he interjected no objection at that time. To the extent he had any valid
    11 objection, he waived it by not taking action at that time, knowing that unpublished
    12 materials would be disclosed. See, e.g., United States v. Bahe, 128 F.3d 1440, 1442 (10th
    13 Cir. 1997). But, at his deposition, Mr. Vary refused to answer any question about his
    14 unpublished communications with Rapp.
    15         The produced text messages suggested there were glaring inconsistencies with the
    16 story Rapp initially told Mr. Vary with what ultimately was published in the Buzzfeed
    17 article. For example, Rapp stated in the text message he last saw Mr. Fowler in 2008 at
    18 the Tony Awards, but that was proven to be impossible. See, e.g., Scolnick Decl., Ex. 1
    19 (Vary Depo RT) at 119:15-122:7. But this inconsistency was corrected in Mr. Vary’s
    20 published story with no acknowledgement or disclosure in the article that Rapp had stated
    21 it incorrectly. Id. at 167:2-20. Likewise, the text messages produced by Rapp show he
    22 disclosed his visiting friend during the time of the alleged incident was an actor named
    23 John Barrowman. Although Barrowman’s age is easily verifiable and reveals he was 19
    24 years old at the time of the alleged incident, Mr. Vary’s story makes the demonstrably
    25 false claim that Rapp’s unnamed friend was a “17 year-old boy” in 1986. But Mr. Vary
    26 refused to answer questions about this. Id. at 174:9-18, 177:7-181:16.
    27         Besides lacking justification to withhold even the “source materials” contemplated
    28 by the protection, the jury also must be permitted to understand the circumstances of how

                                                    37
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 42 of 116 Page ID #:45


     1 it was prepared and published – e.g., the extent of Mr. Vary’s investigation, the degree
     2 to which the article’s content adequately conveyed his understanding, and his personal
     3 biases. Without that context, the jury will be misled and confused about the veracity of
     4 the Buzzfeed article’s assertions and could mistakenly believe it was thoroughly
     5 investigated or prepared in good faith.
     6         Even if the First Amendment could be properly invoked and has not been waived,
     7 the protection is qualified, not absolute. The First Amendment protection must be set
     8 aside, and discovery must be allowed, where the requested material is “(1) unavailable
     9 despite exhaustion of all reasonable alternative sources; (2) noncumulative; and (3)
    10 clearly relevant to an important issue in the case.” See Mark v. Shoen, 48 F.3d 412, 416
    11 (9th Cir. 1995).
    12         These factors are present here. Mr. Fowler already deposed Rapp, including about
    13 his conversations with Mr. Vary. Rapp claimed he withheld no details he had with Mr.
    14 Vary but Rapp could not recall specifics of each discussion he had with Vary. See, e.g.,
    15 Scolnick Decl., Ex. 8 (Rapp Depo. RT at 9:5-10:7, 260:18-263:22, 269:13-270:7). Nor
    16 did Rapp provide any specific details in his following interrogatory responses. Id., Ex.
    17 9 (Excerpts from Rapp’s 8/9/21 Interrogatory Responses). More specifically, Rapp
    18 stated he did “not recall the exact words [he] used” in discussing his allegations with Mr.
    19 Vary. Id. He stated he provided “additional details of the abuse” but was “unable to
    20 state with certainty what more details [he] provided.” Id. But text messages produced
    21 by Rapp and other documents show that Rapp told Mr. Vary a series of inconsistent
    22 details, including the alleged date of his last time seeing Mr. Fowler, his assertion that
    23 the incident occurred in a nonexistent bedroom in Mr. Fowler’s apartment, and the age
    24 of Mr. Rapp’s friend who had accompanied him at a club with Mr. Fowler a few days
    25 before the alleged incident. The evidence of Rapp’s statements to Mr. Vary in the weeks
    26 before Rapp’s claims first became public cannot be obtained elsewhere. Further, Mr.
    27 Fowler clarified during the meet and confer conference that he is not seeking the
    28 disclosure of information from confidential sources, but Rapp and the others identified

                                                     38
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 43 of 116 Page ID #:46


     1 in Buzzfeed article) were not and are confidential sources.
     2         The details of Rapp’s discussions with Mr. Vary likewise are not cumulative and
     3 are clearly relevant to an important issue. Rapp’s credibility will be a critical issue at
     4 trial. Rapp voluntarily sought out the Buzzfeed article with a friendly writer who would
     5 sanitize the story by omitting inconsistent and demonstrably false details. The Buzzfeed
     6 article publicly disclosed Rapp’s allegations for the first time, many decades after the
     7 alleged incident. The widespread publicity of that Buzzfeed article concealed Rapp’s
     8 false account. Rapp’s unpublished statements to Mr. Vary – rather the manicured and
     9 incomplete end result – are critical to examining Rapp’s credibility and the veracity of
    10 his claims.
    11
                     2.     Mr. Vary’s Objections Based on California’s Reporter’s Shield
    12                      Law Do Not Justify His Withholding of Discovery, Nor Has He
    13                      Shown California’s Shield Law Applies Here.

    14         Besides the purported protections of the First Amendment under these
    15 circumstances, Mr. Vary also claims that California’s “reporter’s shield” law applies to
    16 this discovery dispute and provides absolute protection justifying Mr. Vary’s
    17 withholding of documents and refusal to answer questions at deposition. Vary wrongly
    18 presumes California law applies to this discovery dispute. Under Evidence Code section
    19 501, “with respect to an element of a claim or defense as to which State law supplies the
    20 rule of decision, the privilege of a witness . . . shall be determined in accordance with
    21 State law.” Fed. R. Evid. 501. As an initial matter, Under Federal Rule of Civil
    22 Procedure 45(f), this Court can and should transfer this discovery dispute to the Southern
    23 District of New York where this action is pending. In this diversity action, New York
    24 state law provides the substantive source of law for Rapp’s claims.
    25         But even if the Court heard this dispute, and applied California’s choice of law
    26 rules, the result should be application of New York state law. Under California’s
    27 “governmental interest” choice of law analysis, the Court is to examine the policies
    28 underlying the laws of the states involved to determine which state is more “interested”

                                                    39
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 44 of 116 Page ID #:47


     1 in having its law applied. Here, the lawsuit is pending in New York and will be decided
     2 under New York law. The primary source of Vary’s Buzzfeed article was Rapp, who is
     3 a New York citizen and appears to have been in New York at the time he spoke with
     4 Vary about the substance for the Buzzfeed article. While Mr. Vary is located in Los
     5 Angeles, Buzzfeed – the media outlet which published the article and is likely the owner
     6 of any unpublished materials– is based in New York City.                         See, e.g.,
     7 https://www.buzzfeed.com/about/contact.
     8         New York’s reporters’ shield law was codified in New York Civil Rights Law §
     9 79-h, and represents an important public policy for the state. See, e.g., In re Beach v.
    10 Shanley, 62 N.Y.2d 241, 255 (1984). If any shield law applies, it should be that of New
    11 York state.
    12         New York’s reporters’ shield provides only qualified protection for non-
    13 confidential sources and information. The test requires a court to weigh the competing
    14 interests, similar to the First Amendment analysis above. Under New York law, the
    15 reporter’s shield can be overcome where the party seeking disclosure shows the
    16 information (1) is highly material and relevant, (2) is critical or necessary to the
    17 maintenance of a party’s claim, defense, or proof of an issue material thereto; and (3) is
    18 not obtainable from any alternative source. See, e.g., O’Neill v. Oakgrove Const., Inc.,
    19 71 N.Y.2d 521, 527 (1988). Each of these factors is present here. Rapp’s credibility
    20 and the details of the alleged incident lie at the heart of this case. Rapp’s statements to
    21 Mr. Vary provide critical evidence bearing on the veracity of Rapp’s claim, and such
    22 evidence cannot be obtained elsewhere.
    23         Finally, even if the Court applied a choice of law analysis that determined
    24 California law should apply, Mr. Vary still should have to provide the required
    25 information. Under California law, the state’s reporter’s shield law must be balanced
    26 against a criminal defendant’s constitutional right to a fair trial. See Delaney v. Superior
    27 Court, 50 Cal.3d 785, 805-806 (1990). The California reporter’s shield may be set aside
    28 where the criminal defense shows there is a reasonable possibility the withheld

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 45 of 116 Page ID #:48


     1 information would materially assist the defense. Id. at 807-813. While this is not a
     2 criminal case, similar considerations should apply because Rapp’s claims are premised
     3 on his allegation that Mr. Fowler committed a crime. Rapp’s claims were asserted under
     4 New York’s Child Victims Act which resuscitated certain civil claims but only where
     5 the conduct at issue would constitute a “sexual offense” as defined in section 130 of New
     6 York’s Penal Law. See N.Y. CLPR § 214-g. Rapp should not be permitted to pursue
     7 civil claims against Mr. Fowler that rely on showing a criminal offense, while Mr. Fowler
     8 is shielded from critical evidence that could undermine those claims.
     9               3.     Vary’s Other Objections Are Without Merit.
    10         During the meet and confer process, Mr. Vary also raised other miscellaneous
    11 objections, none of which have merit. Mr. Vary claimed the deposition subpoena was
    12 deficient because it was issued under letterhead from this Court, rather than the Southern
    13 District of New York. But Mr. Vary voluntarily appeared for deposition. If he wished
    14 to stand on any perceived defect in the subpoena, he was required to bring a motion to
    15 quash under Federal Rule of Civil Procedure 45. Mr. Vary did not move to quash or
    16 modify the subpoena and therefore waived these technical objections. See, e.g., BNSF
    17 Ry. Co. v. Alere, Inc., 2018 U.S. Dist. LEXIS 83559, *13 (S.D. Cal. May 17, 2018)
    18 (failure to bring motion to quash waived objection based on geographic limit of
    19 subpoena). He cannot appear for deposition but then refuse to answer questions based
    20 on an alleged defect in the subpoena that commanded his testimony.
    21         Likewise, Mr. Vary’s counsel’s various objections on foundation are absurd, as
    22 his objections often were made to the very questions that sought to elicit foundational
    23 details. Had Mr. Vary been allowed to answer, any missing foundation would have been
    24 supplied.
    25         C.    Responding Party Vary’s Statement:
    26               1.     Fowler’s Entire Motion Is Untimely.
    27         As shown by the caption page and the first paragraph of Fowler’s introductory
    28 statement above, the discovery cut-off in this case was January 18, 2022 and the trial

                                                    41
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 46 of 116 Page ID #:49


     1 ready date is February 18, 2022. Fowler brings this untimely motion to compel against
     2 a third-party reporter after the close of discovery and mere days before the case is set to
     3 go to trial.
     4          “Untimeliness is sufficient ground, standing alone, to deny a discovery
     5 motion.” Wyles v. Sussman, 445 F. Supp. 3d 751, 755 (C.D. Cal. 2020) (quoting Williams
     6 v. Las Vegas Metro. Police Dep’t, 2015 WL 3489553, at *1 (D. Nev. June 3, 2015)).
     7 Motions to compel filed after the close of discovery “are usually denied.” Id. (citing
     8 Aardwolf Indus., LLC v. Abaco Machines USA, Inc., 2017 WL 10339007, at *2 (C.D.
     9 Cal. Aug. 9, 2017)). As a general rule in this District, discovery motions must be brought
    10 within “sufficient time for decision within the strictures of the District Judge’s scheduling
    11 order.” See, e.g., Honorable Patricia Donahue, 3 Judge’s Procedures: 2. Discovery
    12 Motions, https://www.cacd.uscourts.gov/honorable-patricia-donahue.             The presiding
    13 District Judge in the underlying litigation orders the parties to be “ready for trial” starting
    14 on the date of the final pretrial filings, which are set for February 18, 2022. See Anthony
    15 Rapp v. Kevin Spacey Fowler, No. 20-cv-09586-LHK, Dkt. 118 (S.D.N.Y. Oct. 18, 2021)
    16 (Scheduling Order). 4 By noticing a hearing for after the dispositive motion deadline and
    17 the final pretrial filing deadlines in the underlying litigation, Fowler risks interfering with
    18 the merits phase of the case. Fowler’s present motion is untimely.
    19         Fowler’s lack of diligence is the source of delay here. Adam Vary, the third-party
    20 reporter, sat for an over seven-hour deposition on December 16, 2021 after being served
    21 the second of two deposition subpoenas on December 6, 2021. Jassy Decl. ¶¶ 4-5.
    22 During the deposition, and in letters dated November 18, 2021 and December 14, 2021,
    23
               3
                While this matter has not yet been assigned a magistrate judge at the time of the
    24 exchange of this Joint Stipulation, given the procedural posture under Rule 45, Judge
    25 Patricia Donahue’s procedures provide guidance on how this District addresses untimely
       motions.
    26        4 Per Judge Kaplan’s scheduling order in the underlying civil litigation, the close

    27 of discovery was extended from October 1, 2021 to January 18, 2021, and final pretrial
       filing deadlines are now set for February 18, 2022. Fowler’s papers sent to Vary’s
    28 counsel failed to include “a copy of the order establishing the initial case schedule, as
       well as any amendments,” in violation of Local Rule 37-2.1.
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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 47 of 116 Page ID #:50


     1 Vary’s counsel repeatedly advised Fowler’s counsel that he would invoke the Reporter’s
     2 Privilege/Shield in response to any questions about newsgathering and unpublished
     3 materials. Jassy Decl. ¶ 6. Fowler therefore had ample notice of Vary’s positions and
     4 objections, yet he waited until weeks after the close of discovery to file this motion.
     5         It is also noteworthy that Fowler waited until the final weeks of already-extended
     6 discovery deadlines to seek any discovery from Vary. If the discovery were as critical
     7 as Fowler now contends, he would have sought it before the first discovery cut-off in
     8 October 2021. See Scolnick Decl. ¶ 4 (first subpoena was issued to Vary on November
     9 4, 2021). Now, noticing a hearing for this motion to compel for after summary judgment
    10 and final pretrial filing deadlines in the underlying litigation, Fowler undermines any
    11 argument that such discovery is relevant, let alone necessary to support his defenses.
    12 Courts disfavor the “bad faith gamesmanship” of raising eleventh hour discovery
    13 disputes. Cardoza v. Bloomin' Brands, Inc., 141 F. Supp. 3d 1137, 1141 (D. Nev. 2015).
    14               2.     Fowler Did Not Comply with Local Rule 37-2.1.
    15         Local Rule 37-2.1 requires the parties to explain what they did to try to
    16 compromise on an issue or dispute. Fowler offered zero compromise on the deposition
    17 questions he now puts at issue. His only purported compromise was that he did not want
    18 to know the identities of any confidential sources, but that does not implicate any of the
    19 deposition questions at issue. Vary, on the other hand, did offer to compromise. Vary
    20 agreed to review his deposition transcript to determine what more he could provide that
    21 would not be protected from disclosure by the reporter’s shield/privilege. Jassy Decl. ¶
    22 7. He also agreed to shorten the review period from 30 days to 20 days from the date he
    23 could access the transcript. Id. Fowler brings this motion before those 20 days have
    24 even expired. Id.
    25               3.     Fowler’s Motion Suffers Numerous Procedural Defects.
    26         Under the Federal Rules of Civil Procedure, Local Rules of the Central District
    27 of California, and individual procedures of several District Judges and Magistrate
    28 Judges of this District, Fowler’s motion is defective on several other grounds. First, the

                                                     43
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 48 of 116 Page ID #:51


     1 served notice of motion does not state before which judge, or in which courtroom, the
     2 motion will be heard and instead presumes a hearing date and time before seeking
     3 assignment to any judge in this District. Second, the Document Subpoena at issue was
     4 not properly served on Vary (counsel accepted service of the second records subpoena
     5 to Vary, but not the third Document Subpoena, which is the one at issue). Third, the
     6 Deposition Subpoena that Fowler seeks to enforce did not issue out of the court where
     7 the action is pending, in violation of FRCP 45(a)(2). Fourth, Fowler’s counsel did not
     8 comply with L.R. 37-1 because counsel’s letter did not: (a) identify “each” issue and/or
     9 discovery request in dispute, see Ex. 6; (b) specify the terms of the order sought—e.g.,
    10 no mention of seeking an order of contempt, id.; and (c) like this motion, Fowler
    11 provided almost no legal authority, and certainly nothing “dispositive.” Scolnick Decl.,
    12 Exs. 6 and 7 at 2. Fifth, Fowler did not comply with the court-mandated pre-motion
    13 discovery conference obligations specifically required by several judges in this District.
    14                4.     Vary Only Declined to Answer Questions That Related to His
    15                       Role as a Journalist.

    16         Vary only opted not to answer deposition questions where the questions called for

    17 privileged information. It is true that Vary and Rapp were friends before any articles
    18 concerning Rapp and Fowler were published, but, contrary to Fowler’s
    19 misrepresentations, Vary did not refuse to testify about his friendship with Rapp. Vary
    20 willingly answered questions about his connection to Rapp that were unrelated to Vary’s
    21 role as a journalist. See, e.g., Jassy Decl., Ex. 11 at 38:6-22, 58:17-63:14, 64:8-16, 66:3-
    22 67:21. Vary also responded to questions about the general practices of journalists. See,
    23 e.g., Jassy Decl., Ex. 11 at 39:24-40:3, 72:1-75:17, 103:10-104:13, 108:5-109:19.
    24 However, if a question potentially called for the disclosure of unpublished information
    25 related to Vary’s newsgathering and reporting on specific stories (e.g., about Fowler),
    26 counsel objected and instructed (nearly always) “to the extent” that it called for such
    27 information, but also instructed that Vary could otherwise answer the question.
    28 Sometimes Vary determined that he could answer the question in whole or in part, and

                                                     44
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 49 of 116 Page ID #:52


     1 sometimes he determined that he could not. Very frequently, Vary answered the question
     2 at least in part because he understood the instruction to only apply to unpublished
     3 information. See, e.g., Jassy Decl., Ex. 11 at 26:11-20, 27:1-9, 30:13-20, 31:11-32:1,
     4 32:15-33:4, 47:6-18, 63:16-64:6, 64:20-65:6, 67:25-69:14, 116:20-117:9, 121:22-122:7,
     5 126:2-12, 129:8-134:24, 146:15-147:3, 156:19-157:10, 158:14-159:1, 160:24-161:10,
     6 168:10-23, 169:13-24, 170:18-171:18, 190:12-25, 193:3-194:8, 204:12-20, 208:17-
     7 209:2, 211:7-24, 212:13-213:2, 215:11-216:4, 222:16-223:4, 225:20-227:21, 228:24-
     8 229:7, 229:15-230:1, 242:20-243:11, 243:20-245:5. 249:9-250:13, 251:2-252:3.             A
     9 thoughtful line was drawn, and it is inaccurate for Fowler to suggest anything to the
    10 contrary.
    11                5.    California Law Applies and Shields Vary from Further
                            Deposition Testimony.
    12
                            a.     California Law Provides Reporters Like Vary with
    13                             Absolute Protection in a Civil Case.
    14         In California, journalists are protected from having to disclose confidential
    15 sources and unpublished, non-confidential information as codified in the California
    16 Constitution, Art. 1, § 2(b) and California Evidence Code § 1070(a) (collectively,
    17 “California’s Shield Law”). California’s Shield Law protects journalists from having to
    18 “disclose any unpublished information obtained or prepared in gathering, receiving or
    19 processing of information for communication to the public.” Cal. Const., art. I, § 2(b)
    20 (emphasis added); O’Grady v. Super. Ct., 139 Cal. App. 4th 1423, 1459-60 (2006)
    21 (applying California’s Shield Law to online journalists). Under California’s Shield Law,
    22 “unpublished information,” which is protected from disclosure in the face of a subpoena,
    23 includes any “information not disseminated to the public by the person from whom
    24 disclosure is sought, whether or not related information has been disseminated and
    25 includes, but is not limited to, all … data of whatever sort not itself disseminated to the
    26 public through a medium of communication, whether or not published information based
    27 upon or related to such material has been disseminated.” Id.
    28

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 50 of 116 Page ID #:53


     1         California’s Shield Law applies absolutely in civil cases, providing an “absolute
     2 immunity” from contempt in civil cases, and “‘absolute protection to nonparty journalists
     3 in civil litigation from being compelled to disclose unpublished information[.]’” New
     4 York Times Co. v. Superior Court, 51 Cal. 3d 453, 456-57, 461-462 (1990) (emphasis
     5 added; quoting decision from Court of Appeal, which the Supreme Court affirmed); see
     6 also McGarry v. Univ. of San Diego, 154 Cal. App. 4th 97, 119-120 (2007) (“the Shield
     7 Law confers an absolute immunity against compelled disclosure of the protected
     8 information and, although that immunity must occasionally yield when it threatens to
     9 frustrate the competing federal constitutional right of a criminal defendant to a fair trial,
    10 there is no analogous competing right of a civil litigant that will suffice to overcome the
    11 immunity”). “Since contempt is generally the only effective remedy against a non-party
    12 witness, the California [Shield Law] grant[s] such witnesses virtually absolute
    13 protection” in civil cases. Mitchell v. Superior Court, 37 Cal. 3d 268, 274 (1984); In re
    14 Willon, 47 Cal. App. 4th 1080, 1091 (1996) (same).
    15         Article 1, Section 2(b) of the California Constitution was enacted in 1980 by an
    16 overwhelming majority of California voters. By elevating the protection from a statute
    17 – Evidence Code § 1070 – to the state constitution, the California electorate demonstrated
    18 their belief in the need to give journalists the maximum possible shield for information
    19 obtained in their newsgathering activities. Recognizing this mandate, the Court of
    20 Appeal observed in Playboy Enterprises, Inc. v. Superior Court, 154 Cal. App. 3d 14,
    21 27-28 (1984), that the interests of the press are favored over having civil actions
    22 determined on a full record:
    23                The elevation to constitutional status must be viewed as an
                      intention to favor the interest of the press in confidentiality
    24                over the general and fundamental interest of the state in
    25                having civil actions determined upon a full development of
                      material facts. . . . It has long been acknowledged that our
    26                state Constitution is the highest expression of the will of the
    27                people acting in their sovereign capacity as to matters of
                      state law.
    28

                                                      46
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 51 of 116 Page ID #:54


     1         As the California Supreme Court explained in Delaney v. Superior Court, 50
     2 Cal. 3d 785 (1990), the Shield Law applies to any unpublished information, even if it is
     3 not confidential:
     4                [Article 1, Section 2(b)] states plainly that a newsperson
                      shall not be adjudged in contempt for ‘refusing to disclose
     5                any unpublished information’. . . . The use of the word ‘any’
     6                makes clear that article I, section 2(b) applies to all
                      information, regardless of whether it was obtained in
     7                confidence. Words used in a constitutional provision
     8                ‘should be given the meaning they bear in ordinary use.’ . . .
                      In the context of article I, section 2(b), the word ‘any’ means
     9                without limit and no matter what kind.
    10 Id. at 798; see also New York Times, 51 Cal. 3d at 461-62 (unpublished photographs of
    11 a public event that photojournalist witnessed are protected by California’s Shield Law);
    12 Miller v. Superior Court, 21 Cal. 4th 883, 897 (1999) (“the shield law applies to
    13 unpublished information whether confidential or not”).
    14         Where, as here, the material is sought by a civil litigant, there is no federal or state
    15 constitutional right that can be weighed against Mr. Vary’s rights under the California
    16 Constitution. As the court noted in Playboy: “[c]ivil litigants do not have a constitutional
    17 right to unrestricted discovery of relevant information.” 154 Cal. App. 3d at 25; see also
    18 McGarry, 154 Cal. App. 4th at 119-120 (same). Thus, in civil litigation, no balancing of
    19 opposing interests is appropriate because California’s Shield Law absolutely protects
    20 information from disclosure. Id.; New York Times, 51 Cal. 3d at 462 (a civil litigant has
    21 no federal or state constitutional rights which are sufficient to overcome rights under
    22 California Shield Law).
    23         In Los Angeles Memorial Coliseum Comm’n v. National Football League, 89
    24 F.R.D. 489, 495 (C.D. Cal. 1981), the federal court granted journalists’ motions to quash
    25 subpoenas for their depositions and newsgathering materials, relying in part on
    26 California’s Shield Law, which, the court held, “‘reflects a paramount public interest in
    27 the maintenance of a vigorous, aggressive and independent press capable of participating
    28 in robust, unfettered debate over controversial matters, an interest which has always been

                                                       47
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 52 of 116 Page ID #:55


     1 a principal concern of the First Amendment.’” Id. (quoting Baker v. F&F Investment,
     2 470 F.2d 778, 782 (2d Cir. 1972)).
     3          Under California’s Shield Law, Vary has an absolute constitutional right not to
     4 disclose “any unpublished information obtained or prepared in gathering, receiving or
     5 processing of information” in this civil case, and Fowler has no competing constitutional
     6 right that could overcome Vary’s rights. Cal. Const., art. I, § 2(b) (emphasis added);
     7 New York Times, 51 Cal. 3d at 456-57, 461-462; McGarry, 154 Cal. App. 4th at 119-
     8 120; Playboy, 154 Cal. App. 3d at 25. This absolute rule applies “whether or not
     9 published information based upon or related to such material has been disseminated.”
    10 Cal. Const., art. I, § 2(b). 5
    11                        b.        Contrary to Fowler’s Contentions, California’s Shield
                                        Law Applies Here, Not New York’s.
    12
    13                                   i.    Under Rule 45, the Laws of this Court Govern.

    14          California’s robust protections for reporters apply to this discovery dispute. Vary
    15 is a third-party witness who resides and works in the Central District of California, and
    16 has at all times relevant to this matter. Jassy Decl. ¶ 2; id., Ex. 11 at 70:7-11, 77:17-
    17 90:16, 90:2-93:22 (Vary work history). Any documents in his possession, custody, and
    18 control are in the Central District of California. Id. Fowler served Vary with multiple
    19 subpoenas under Federal Rule of Civil Procedure 45. Under Federal Rule of Civil
    20 Procedure 45, motions to compel third-party discovery must be brought in the district
    21
    22
    23
    24
    25          5Fowler makes a weak argument that, although this is civil litigation, applying
       civil procedure, arising under civil claims of assault, battery, and intentional infliction of
    26 emotional distress, he is somehow a criminal defendant even though he acknowledges
    27 that “this is not a criminal case.” When Fowler’s counsel was asked in the meet and
       confer process, “So if Fowler loses this civil case that would mean that he is a criminal?,”
    28 his counsel candidly replied: “Of course not.” Jassy Decl. ¶ 8. Of course not. Fowler is
       a civil, not a criminal defendant, here.
                                                       48
           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 53 of 116 Page ID #:56


     1 where compliance is required, which, in this case, is the Central District of California.
     2 Fed. R. Civ. P. 45(d)(2)(B)(i).6
     3         Third-party subpoenas are assessed under the law of the jurisdiction enforcing
     4 them. Jimenez v. City of Chicago, 733 F. Supp. 2d 1268, 1271 (W.D. Wash. 2010) (in a
     5 federal question case, applying Ninth Circuit, rather than Seventh Circuit, law invoking
     6 the reporter’s privilege to grant a Washington state journalist’s Rule 45 motion to quash
     7 while litigation proceeded in Illinois). “Where the court hearing the discovery dispute
     8 and the court hearing the underlying action differ, the court hearing the discovery dispute
     9 must apply the choice of law rules of its forum.” Wolpin v. Philip Morris Inc., 189 F.R.D.
    10 418, 423 (C.D. Cal. 1999) (applying California privilege law in a discovery dispute while
    11 underlying litigation proceeded in the Southern District of Florida). This Court has
    12 jurisdiction over this discovery dispute.
    13         Rule 45 explicitly provides for courts to hear discovery disputes while underlying
    14 litigation is pending in other district courts. See Fed. R. Civ. P. 45(d)(2)(B)(i). The
    15 underlying civil litigation here is a diversity case in the Southern District of New York
    16 brought by Rapp (from New York) against Fowler (from Maryland). Anthony Rapp v.
    17 Kevin Spacey Fowler, No. 20-cv-09586-LHK (S.D.N.Y.). Fowler’s present motion to
    18 compel Vary, a California third-party witness for additional deposition testimony and
    19 documents, should be addressed under California law.
    20         State substantive law preventing disclosure of information applies where not
    21 preempted by federal law. Lee v. Glob. Tel*Link Corp., No. 15-cv-2495-ODW-PLAX,
    22 2017 WL 10575166, at *7 (C.D. Cal. Sept. 6, 2017) (citing Robinson v. Kia Motors
    23 America, Inc., 2011 WL 2433369, at *2 (E.D. Cal. June 13, 2011) (noting that if a state
    24 statute protecting the disclosure of information pursuant to a subpoena is a “substantive
    25 policy statute,” the court then considers whether any federal law preempts the state
    26 statute)). Federal Rule of Civil Procedure 45 explicitly provides for exemption of
    27
               6
               Fowler’s passing request to transfer this motion, should be summarily rejected
    28 because Vary does not consent to the transfer and Fowler makes no showing of any
       “exceptional circumstances” that would warrant a transfer. F.R.C.P. 45(d)(2)(B)(i).
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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 54 of 116 Page ID #:57


     1 disclosure for “privileged or other protected matter.” Fed. R. Civ. P. 45(d)(3), (e)(2); see
     2 id.    California’s Shield Law is a substantive right enshrined in the California
     3 Constitution. See Playboy Enters., 154 Cal. App. 3d at 27-28. Federal law does not
     4 preempt California’s Shield Law.
     5                                ii.    California Has a Greater Interest in Enforcing its
                                             Shield Law.
     6
                “[T]he court hearing the discovery dispute must apply the choice of law rules of
     7
         its forum.” Wolpin, 189 F.R.D. at 423. Applying the California conflict-of-law analysis,
     8
         government interests weigh in favor of applying California’s Shield Law, rather than
     9
         New York’s reporter’s privilege law as Fowler contends. California courts apply a three-
    10
         step government interest conflict-of-law analysis. Pokorny v. Quixtar, Inc., 601 F. 3d
    11
         987, 994 (9th Cir. 2010). Generally, the forum will apply its own law of decision, but
    12
         the party invoking foreign law bears the burden of showing the foreign forum’s interest.
    13
         Washington Mut. Bank, FA v. Superior Ct., 24 Cal. 4th 906, 918 (2001). Fowler has
    14
         failed to meet his burden here.
    15
               First, the court determines whether the relevant law is the same or different.
    16
         California’s Shield Law is a state constitutional right and provides absolute immunity for
    17
         non-party journalists against disclosing unpublished information in civil litigation. Cal.
    18
         Const., art. I, § 2(b); New York Times, 51 Cal.3d at 455-56. In contrast, New York’s
    19
         reporter’s privilege law is a qualified right subject to a balancing test. N.Y. Civ. Rights
    20
         L. § 79-h; O’Neill v. Oakgrove Const., Inc., 523 N.E.2d 277, 277-78 (N.Y. 1988)
    21
         (recognizing that N.Y. Const., art. I, § 8 and the First Amendment to the U.S. Constitution
    22
         provide a qualified immunity from disclosure for reporters’ information prepared or
    23
         collected in the course of newsgathering). In California, there is no balancing test to
    24
         determine if California’s Shield Law applies in a civil case; there is absolute protection
    25
         from disclosure for third-party reporters’ unpublished newsgathering materials in civil
    26
         litigation. New York Times, 51 Cal. 3d at 461. Whereas New York state’s qualified
    27
         privilege means the reporter’s privilege may be overcome if the disclosure sought is (i)
    28

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           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 55 of 116 Page ID #:58


     1 is highly material and relevant; (ii) is critical or necessary to the maintenance of a party's
     2 claim, defense or proof of an issue material thereto; and (iii) is not obtainable from any
     3 alternative source. N.Y. Civ. Rights L. § 79-h(c). 7 The difference between an absolute
     4 and qualified immunity is material.
     5         Second, because the laws are materially different, the court must then determine
     6 what interest each state has in having its law applied. Washington Mut. Bank, 24 Cal.
     7 4th at 920. California has a substantial interest in protecting the constitutional rights of
     8 its citizens, while New York’s interest here is minimal. As stated above, Vary resides in
     9 California, maintains his files in California, sat for a deposition in California, and
    10 engaged in relevant newsgathering communications from California. Jassy Decl. ¶ 2;
    11 id., Ex. 11 at 70:7-11, 77:17-90:16, 90:2-93:22 (Vary work history). The state of
    12 domicile for the person asserting privilege weighs heavily in choice-of-law analysis. See
    13 Connolly Data Sys., Inc. v. Victor Techs., Inc., 114 F.R.D. 89, 91 (S.D. Cal. 1987)
    14 (applying California state privilege law to discovery dispute while underlying diversity
    15 case proceeded in District of Massachusetts). A source’s – e.g., Rapp’s – expectation’s
    16 when speaking with a California reporter also weighs in favor of applying California law.
    17 See id. at 92.
    18         Meanwhile, neither party to this discovery dispute – i.e., neither Fowler nor Vary
    19 – is a New York resident, and New York’s interest here is only linked to the underlying
    20 litigation in the Southern District of New York. “The fact that the underlying litigation
    21 is pending in [a foreign district] is not controlling.” Connolly Data Sys., 114 F.R.D at
    22 92. Fowler argues that New York has an interest because Vary’s former employer,
    23 BuzzFeed, is located in New York. But Fowler subpoenaed Vary, not BuzzFeed, for the
    24 documents in Vary’s control; and Vary has no possession, custody, or control of his
    25
              7
                Even if the Court were to apply New York’s qualified privilege law – which
    26 Vary contends would be improper under a choice of law analysis – Fowler would not be
    27 able to overcome New York’s qualified privilege which is even more stringent that the
       Ninth Circuit’s First Amendment-based qualified privilege discussed below. Because
    28 Fowler cannot overcome the Ninth Circuit’s privilege, he also could not overcome New
       York’s privilege.
                                                      51
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 56 of 116 Page ID #:59


     1 former employer’s documents. New York has only tenuous interest in a third-party
     2 California journalist’s assertion of privilege in a California deposition.
     3         To the extent the Court finds New York has any interest (Vary asserts it does not),
     4 the Court should then take the final step to select the state whose interests would be
     5 “more impaired” if its law were not applied. Washington Mut. Bank, 24 Cal. 4th at 920.
     6 California, the forum state, the deponent’s home state, and the state with the more robust
     7 protection for journalists would see its interests more impaired if New York law were
     8 applied. California has elevated its protection of journalists to constitutional status,
     9 reflecting “an intention to favor the interest of the press in confidentiality over the general
    10 and fundamental interest of the state in having civil actions determined upon a full
    11 development of material facts.” Playboy, 201 Cal. App. at 27-28. California has
    12 demonstrated a significant government interest in protecting California reporters from
    13 overreaching discovery. Disregarding California law would undermine “the paramount
    14 law of the state.” Id. On the other hand, New York has codified its own reporter’s shield,
    15 albeit a weaker one, into state law. N.Y. Civ. Rights L. § 79-h. From a policy
    16 perspective, New York shares California’s interest in protecting reporters’ unpublished
    17 newsgathering materials albeit not as robustly as California does. New York’s interests
    18 would not be as impaired if California law were applied. Accordingly, government
    19 interests favor applying California’s Shield Law in this discovery dispute.
    20                       c.     Vary Did Not Waive Any Rights.
    21         Fowler incorrectly asserts that Vary somehow waived his constitutional rights
    22 when Rapp disclosed some of his communications with Vary in the discovery process.
    23 Rapp is the plaintiff, is a party to this litigation, is not a journalist, and did not act in a
    24 newsgathering capacity. Rapp never had a reporter’s shield or privilege to assert. The
    25 reporter’s privilege “belongs to the journalist alone and cannot be waived by persons
    26 other than the journalist.” L.A. Mem’l Coliseum Comm’n v. Nat’l Football League, 89
    27 F.R.D. 489, 494 (C.D. Cal. 1981) (rejecting the argument that the journalist’s privileged
    28 was waived when some sources voluntarily identified themselves to the public). Even

                                                       52
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 57 of 116 Page ID #:60


     1 under the out-of-circuit authority Fowler cites regarding marital communications (not the
     2 reporter’s shield or privilege) confirms that “a waiver requires an intentional disclosure
     3 of the content of the confidential communication by the party seeking to invoke the
     4 privilege.” United States v. Bahe, 128 F.3d 1440, 1442 (10th Cir. 1997) (emphasis
     5 added).
     6         Fowler points to no authority that requires journalists to intervene and move to
     7 quash in order to preserve the reporter’s shield or privilege. Indeed, courts have
     8 rejected the argument that journalists may intervene to assert their privilege over
     9 records held by third-party sources. See, e.g., Greenfield v. Schultz, 660 N.Y.S.2d 624
    10 (N.Y. Sup. Ct. N.Y. County 1997), aff'd in part, vacated in part, 673 N.Y.S.2d 684 (1st
    11 Dep't 1998) (rejecting the New York Times’ effort to intervene to stop defendant from
    12 producing phone billing records that would reveal an editor’s confidential sources).
    13 Vary does and has firmly asserted the Reporter’s Privilege/Shield in this discovery
    14 dispute, before the deposition, during the deposition, and after the deposition, and he
    15 has not waived it.
    16                                       *      *      *
    17         California’s substantive law applies here, and California’s Shield Law affords
    18 Vary with an absolute constitutional right not to disclose “any unpublished information
    19 obtained or prepared in gathering, receiving or processing of information” in this civil
    20 case. Cal. Const., art. I, § 2(b); New York Times, 51 Cal. 3d at 456-57, 461-62;
    21 McGarry, 154 Cal. App. 4th at 119-20; Playboy, 154 Cal. App. 3d at 25. Thus, even if
    22 the Court determines that Fowler’s motion is procedurally proper, the Court’s
    23 substantive analysis can end here because of the absolute protections afforded to Vary.
    24 The motion should be denied in full and sanctions should be awarded to Vary.
    25               6.     Vary Is Also Protected under the First Amendment.
    26         Nearly a half century ago, the United States Supreme Court in Branzburg v. Hayes,
    27 408 U.S. 665, 681 (1972), expressly recognized that newsgathering activities qualify for
    28 First Amendment protection: “Without some protection for seeking out the news,

                                                    53
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 58 of 116 Page ID #:61


     1 freedom of the press could be eviscerated.” Id. The Ninth Circuit has held that
     2 Branzburg established a constitutionally-based qualified privilege for journalists to resist
     3 the disclosure of information gathered or obtained during the course of newsgathering
     4 activities: “Rooted in the First Amendment, the privilege is a recognition that society’s
     5 interest in protecting the integrity of the newsgathering process, and in ensuring the free
     6 flow of information to the public, is an interest ‘of sufficient social importance to justify
     7 some incidental sacrifice of sources of facts needed in the administration of justice.’”
     8 Shoen v. Shoen (“Shoen I”), 5 F.3d 1289, 1292 (9th Cir. 1993) (internal citations
     9 omitted); see also U.S. v. Pretzinger, 542 F.2d 517, 520-521 (9th Cir. 1976) (affirming
    10 decision not to compel reporter to disclose source in criminal case, holding that, “district
    11 judge must balance the interest of confidentiality of news sources against the needs of
    12 the criminal justice system to know the identity of the source”). In holding that the
    13 qualified privilege attached to subpoenaed, unpublished, non-confidential information
    14 obtained by a book author, the Ninth Circuit stated: “the journalist’s privilege recognized
    15 in Branzburg [is] a partial First Amendment shield that protects journalists against
    16 compelled disclosure in all judicial proceedings, civil and criminal alike.” Shoen I, 5
    17 F.3d at 1292. This privilege reflects “the preferred position of the First Amendment and
    18 the importance of a vigorous press.” Zerilli v. Smith, 656 F.2d 705, 712 (D.C. Cir. 1981).
    19         Courts repeatedly have recognized that subpoenas to non-party journalists pose a
    20 pernicious threat to freedom of the press. Indeed, “news gathering is essential to a free
    21 press”:
    22                Without an unfettered press, citizens would be far less able to
    23                make informed political, social, and economic choices. But
                      the press’ function as a vital source of information is
    24                weakened whenever the ability of journalists to gather news
    25                is impaired.

    26 Zerilli, 656 F.2d at 711 (emphasis added) (quoting New York Times Co. v. United
    27 States, 403 U.S. 713, 717 (1971) (Black, J., concurring)).
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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 59 of 116 Page ID #:62


     1         These public policy concerns apply to the compelled disclosure of underlying
     2 resource materials, which is precisely the type of material sought here. Shoen II, 48 F.3d
     3 at 416; Shoen I, 5 F.3d at 1294-95 (identifying a number of harms, including the risk of
     4 appearing as a “research tool” of the government or private parties); United States v. La
     5 Rouche Campaign, 841 F.2d 1176, 1182 (1st Cir. 1988) (“We discern a lurking and subtle
     6 threat to journalists and their employers if disclosure of outtakes, notes, and other unused
     7 information, even if nonconfidential, becomes routine and casually, if not cavalierly,
     8 compelled”). This is due in part to the fact that “court-enforced access to journalistic
     9 resources would risk the symbolic harm of making journalists appear to be an
    10 investigative arm of the judicial system, the government, or private parties.” Gonzales
    11 v. NBC, 194 F.3d 29, 35 (2d Cir. 1999). The Ninth Circuit has also recognized the
    12 substantial burden that compliance with subpoenas can impose on reporters, noting that
    13 the “frequency of subpoenas would not only preempt the otherwise productive time of
    14 journalists and other employees but measurably increase expenditures for legal fees.”
    15 Shoen I, 5 F.3d at 1295 (citation omitted).
    16         The Ninth Circuit holds that the privilege applies broadly to protect both
    17 confidential and non-confidential material and information. Shoen I, 5 F.3d at 1295;
    18 Shoen v. Shoen (“Shoen II”), 48 F.3d 412, 414 (9th Cir. 1995). Disclosure of confidential
    19 information or non-confidential unpublished information may be compelled “only upon
    20 a showing that the requested material is: (1) unavailable despite exhaustion of all
    21 reasonable alternative sources; (2) non-cumulative; and (3) clearly relevant to an
    22 important issue in the case.” Shoen II, 48 F.3d at 416. Shoen II also requires that the
    23 party seeking to overcome the privilege “must [make] a showing of actual relevance; a
    24 showing of potential relevance will not suffice.” Id. The three-part constitutional test
    25 under Shoen II is necessarily a “high hurdle against compelled disclosure from third party
    26 journalists.” Harbert v. Priebe, 466 F. Supp. 2d 1214 (N.D. Cal. 2006). Fowler’s motion
    27 makes passing references to these standards, but fails to show how he can satisfy his
    28 burden with respect to any deposition questions.

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 60 of 116 Page ID #:63


     1                       a.     Fowler’s Deposition Questions About Vary’s
                                    Newsgathering Are Not “Clearly Relevant.”
     2
     3         Fowler’s questions about Vary’s newsgathering and unpublished reporting are not

     4 “clearly relevant to an important issue” in the case. Shoen II, 48 F.3d at 416 (emphasis
     5 added); Burke, 700 F.2d at 77 (holding that First Amendment-privileged materials are
     6 not subject to disclosure because a criminal defendant failed to make a “clear and specific
     7 showing that [subpoenaed] documents were necessary or critical to the maintenance of
     8 his defense”). As explained in Shoen II, the party seeking to overcome the privilege
                     8


     9 “must [make] a showing of actual relevance; a showing of potential relevance will not
    10 suffice.” 48 F.3d at 416. It is not sufficient that the information sought would be
    11 “useful.” Krase v. Graco Children Prod., Inc., 79 F.3d 346, 351 (2d Cir. 1996). Instead,
    12 there must be a finding that the claim for which the information is to be used “virtually
                                                              9
    13 rises or falls” on the admission of the materials. Id.
    14         Here, Fowler asserts, without any supporting evidence, that certain portions of

    15 Vary’s article may contradict other purported facts recounted by Fowler. For example,
    16 Fowler simply asserts that there were “inconsistent details” such as the last time Rapp
    17
               8
    18             See also United States v. Caporale, 806 F.2d 1487, 1504 (11th Cir. 1986)
         (holding in criminal case that party issuing subpoena for privileged information must
    19   show that material is “highly relevant” and “necessary to the proper presentation of the
         case”); United States v. Cuthbertson, 651 F.2d 189, 196 (3d Cir. 1981) (holding that
    20
         criminal defendant must prove that information is “crucial to the claim”); Zerilli, 656
    21   F.2d at 713 (holding that material sought must “go to the ‘heart of the matter’” and be
         “crucial to the case”).
    22          9
                   For example, courts reject subpoenas to journalists designed to elicit
    23   impeachment evidence. See Holland v. Centennial Homes, Inc., 22 Med. L. Rptr. 2270,
         2275 (N.Y. Sup. Ct. 1985); New York v. Troiano, 11 Med. L. Rptr. 1896, 1899-1900
    24
         (N.Y. Sup. Ct. 1985) (asserted need for cross-examination material inadequate to
    25   overcome privilege because not critical; applying federal and state journalist’s privilege).
         Even in criminal cases, and even when the information is non-confidential, the need for
    26   privileged newsgathering information for purposes of impeachment generally is not
    27   sufficient to overcome the qualified privilege. See, e.g., Burke, 700 F.2d at 78. See also
         United States v. Fields, 663 F.2d 880, 881 (9th Cir. 1981) (a pre-trial subpoena to a non-
    28   party in a criminal case may not be used to gather evidence simply for possible
         impeachment).
                                                      56
           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 61 of 116 Page ID #:64


     1 saw Fowler (whether it was at the 2008 Tony Awards or on another occasion) and the
     2 purported age of Rapp’s friend (a certain John Barrowman), but, even if there were
     3 inconsistencies, none of that is “clearly relevant” to whether Fowler assaulted Rapp in
     4 1986. Nothing about Rapp’s case against Fowler for assault, battery, and IIED “rises or
     5 falls” on these details. In any event, the privilege may not be pierced on speculation that
     6 it will lead to impeachment evidence. See Burke, 700 F.2d at 78; Fields, 663 F.2d at 881.
     7         Vary and his work are not on trial. Vary stands by his newsgathering and the
     8 accuracy of his articles, but nothing is stopping Fowler from trying to convince a jury
     9 that certain aspects of Rapp’s story are false or inconsistent.        Whether there are
    10 inaccuracies or contradictions in Vary’s work in 2017-2018 – which Vary denies – are
    11 not “clearly relevant” to whether Fowler sexually assaulted Rapp in 1986, when Rapp
    12 was 14 years old. Such supposed inconsistencies are not “clearly relevant,” Shoen II, 48
    13 F.3d at 416, nor can they otherwise be considered “crucial to the case,” Zerilli, 656 F.2d
    14 at 713.
    15                      b.     Fowler Does Not Show He Has Exhausted Alternative
    16                             Sources.

    17         Virtually all cases applying the privilege agree that discovery should be denied
    18 unless the requesting party has exhausted all alternative sources of obtaining the needed
    19 information. For example, in Cuthbertson, 651 F.2d at 196, the Third Circuit held that
    20 the criminal defendants had not satisfied the element of proving that the “only practical
    21 access to the information” sought was from outtakes of interviews, noting that the
    22 defendants could “themselves interview these same interviewees, whose identity they
    23 know, to obtain the desired information.” Similarly, in New Jersey v. Boiardo, 414 A.2d
    24 14, 21 (N.J. 1980), the court quashed a subpoena served by a criminal defendant who
    25 sought letters written by one of the prosecution’s witnesses to a journalist. The court’s
    26 decision was based in part on the fact that the defendant had failed to show that the
    27 information contained in the letters was unavailable from other sources, even if the
    28 precise letters were not available from other sources. Id. at 23.

                                                     57
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 62 of 116 Page ID #:65


     1         Here, Fowler has not shown that he has exhausted all alternative sources. For
     2 example, he references Vary’s and Rapp’s purported discussions about a Mr.
     3 Barrowman, but Fowler has not established that he deposed or even interviewed Mr.
     4 Barrowman. Fowler also contends that “Rapp also has mischaracterized Mr. Fowler’s
     5 response to Mr. Vary’s request for comment on his Buzzfeed article.” Even if that were
     6 true, Vary would not be able to speak to Rapp’s characterizations of Fowler’s response,
     7 and Fowler can make his own assertions about his own response (or lack thereof) to
     8 Vary’s repeated requests for comment.
     9                      c.     Fowler Failed to Show That the Requested Information
    10                             Would Not Be Cumulative.

    11         Cumulative information cannot reach the level of significance required to
    12 overcome the reporter’s privilege. Shoen II, 48 F.3d at 416; Burke, 700 F.2d at 78
    13 (subpoena quashed because information sought by criminal defendant “would be merely
    14 cumulative and would not defeat [the] First Amendment privilege”). Here, for example,
    15 Fowler insists on getting texts from Vary that he already obtained pursuant to document
    16 requests from Rapp as a party litigant and asking questions about the messages that he
    17 could (or should have) asked Rapp.
    18         In sum, Fowler has not articulated how he can overcome all three prongs of the
    19 Ninth Circuit’s First Amendment-based privilege for each question he wants to ask Vary
    20 again in deposition, and the Court should not be put to the task of doing that for him. For
    21 this additional reason, Fowler’s motion as to the Deposition Subpoena should fail.
    22                7.    Vary Is Further Protected by the Common Law.
    23         While the Ninth Circuit has recognized the qualified privilege as constitutionally
    24 based, federal common law independently supports a journalist’s privilege.            This
    25 privilege arises under Federal Rule of Evidence Rule 501, which was adopted after
    26 Branzburg and provides in relevant part that “privilege(s) … shall be governed by the
    27 principles of the common law as they may be interpreted by the courts of the United
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                                                     58
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 63 of 116 Page ID #:66


     1 States in the light of reason and experience.” Fed. R. Evid. 501. 10 The House Report
     2 accompanying the 1975 adoption of Rule 501 explained that the federal common law of
     3 privileges is “to be developed by the courts of the United States under a uniform standard
     4 applicable both in civil and criminal cases.” Fed. R. Evid. 501, Adv. Comm. Note, H.R.
     5 No. 93-650 (1974).
     6         In Jaffee v. Redmond, 518 U.S. 1 (1996), the United States Supreme Court
     7 established the framework for evaluating privileges under the federal common law. As
     8 a guide to interpreting Rule 501, the Court referred to the “oft-repeated observation that
     9 ‘the common law is not immutable but flexible, and by its own principles adapts itself to
    10 varying conditions.’” Id. at 8. 11 The Second Circuit held that, “[a]bsent a federal statute
    11 to provide specific instructions, courts which must attempt to divine the contours of non-
    12 statutory federal law governing the compelled disclosure of confidential journalistic
    13 sources must rely on both judicial precedent and well-informed judgment as to the proper
    14 federal public policy to be followed in each case.” Baker, 470 F.2d at 781. For example,
    15 in Los Angeles Memorial Coliseum Comm’n, 89 F.R.D. at 492, a federal court in
    16 California recognized the well-established qualified federal common law privilege and
    17 applied the privilege in a civil case covering journalists’ sources and non-confidential
    18 work product.
    19
    20         10
                   But as detailed above, state privilege law may apply in diversity cases. Fed. R.
    21   Evid. 501.
                11
    22             The legislative history of Rule 501 – dating back more than forty years –
         anticipated that the law of privilege would evolve to recognize a journalist’s privilege.
    23   For example, Representative Hungate, Chair of the House Judiciary Subcommittee on
         Criminal Justice and principal draftsman of Rule 501, believed that the rule “permits the
    24
         courts to develop a privilege for newspaperpeople on a case-by-case basis,” and made
    25   clear that “[t]he language cannot be interpreted as a congressional expression in favor of
         having no such privilege, nor can the conference action be interpreted as denying to
    26   newspaperpeople any protection they may have from State newsperson’s privilege laws.”
    27   120 Cong. Rec. H12253-54 (daily ed. Dec. 18, 1974). See also Riley v. Chester, 612 F.2d
         708, 714 (3d Cir. 1979) (legislative history of Rule 501 “manifests that its flexible
    28   language was designed to encompass, inter alia, a reporter’s privilege not to disclose a
         source”).
                                                     59
           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 64 of 116 Page ID #:67


     1         The Ninth Circuit directs federal district courts to look to state law for guidance
     2 when the State has directly addressed the issue. Gorenc v. Salt River Project Agric.
     3 Improvement & Power District, 869 F.2d 503, 505 (9th Cir. 1989); see also Jaffee, 518
     4 U.S. at 12-13 (same). There is widespread consensus among the States regarding the
     5 existence and value of a journalist’s privilege. Forty states (including California), as well
     6 as the District of Columbia, have codified the reporter’s privilege.12 Courts in nine
     7 additional states have recognized the journalist’s privilege in at least some context in
     8 case law. 13 Wyoming is the only State that has not weighed in.
     9
              12
                 See Ala. Code § 12-21-142; Alaska Stat. §§ 09.25.300, et seq.; Ariz. Rev. Stat.
    10 Ann. §§ 12-2214, 12-2237; Ark. Code Ann. § 16-85-510; Cal. Const. art. I, § 2(b); Cal.
    11 Evid. Code § 1070; Colo. Rev. Stat. §§ 13-90-119, 24-72.5-101, et seq.; Conn. Gen. Stat.
       Ann. § 52-146t; Del. Code. Ann. tit. 10, §§ 4320, et seq.; D.C. Code Ann. §§ 16-4702-
    12 4704; Fla. Stat. Ann. § 90.5015; Ga. Code Ann. § 24-5-508; 735 Ill. Comp. Stat. 5/8-
    13 901, et seq.; Ind. Code § 34-46-4-1, 34-46-4-2; Kan. Stat. Ann. §§ 60-480, et seq.; Ky.
       Rev. Stat. Ann. § 421.100; La. Rev. Stat. Ann. §§ 45:1451-59; 16 Me. Rev. Stat. Ann. §
    14 61; Md. Code Ann. Cts. & Jud. Proc. § 9-112; Mich. Comp. Laws § 767.5a; Minn. Stat.
    15 §§ 595.021, et seq.; Mont. Code Ann. §§ 26-1-901, et seq.; Neb. Rev. Stat. §§ 20-144, et
       seq.; Nev. Rev. Stat. Ann. § 49.275, 49.385; N.J. Stat. Ann. §§ 2A:84A21, et seq.; N.M.
    16 Stat. Ann. § 38-6-7; N.Y. Civ. Rights Law § 79-h; N.C. Gen. Stat. § 8-53.11; N.D. Cent.
    17 Code § 31-01-06.2; Ohio Rev. Code. Ann. §§ 2739.04, 2739.12; Okla. Stat. Ann. tit. 12,
       § 2506; Or. Rev. Stat. §§ 44.510, et seq.; 42 Pa. Cons. Stat. Ann. § 5942; R.I. Gen. Laws
    18 §§ 9-19.1-1, et seq.; S.C. Code Ann. § 19-11-100; S.D. HB 1074 (signed Mar. 5, 2019);
       Tenn. Code Ann. § 24-1-208; Tex. Civ. Proc. & Rem. Code §§ 22.021 et seq.; Tex. Code
    19
       of Crim. Proc. Act 38.11 & 38.111; Utah Rule of Evid. 509; Wash. Rev. Code § 5.68.010;
    20 W. Va. Code § 57-3-10; Wis. Stat. Ann. § 885.14.
              13
    21           See Belanger v. City and County of Honolulu, Civ. No. 93-4047-10 (Haw. 1st
       Cir. Ct. May 4, 1994) (unpublished) (civil); Idaho v. Salsbury, 924 P.2d 208 (Idaho 1996)
    22 (criminal); In re Wright, 700 P.2d 40 (Idaho 1985) (criminal); Winegard v. Oxberger,
       258 N.W.2d 847 (Iowa 1977) (civil); In re John Doe Grand Jury Investigation, 574
    23
       N.E.2d 373 (Mass. 1991) (grand jury); Sinnott v. Boston Retirement Board, 524 N.E.2d
    24 100 (Mass. 1988) (civil); Ayash v. Dana-Farber Cancer Institute, 822 N.E.2d 667 (Mass.
       2005) (civil); Eason v. Federal Broad. Co., 697 So. 2d 435, 437 (Miss. 1997); Hawkins
    25 v. Williams, No. 29,054 (Miss. Cir. Ct. Hinds Co. Mar. 16, 1983) (unpublished opinion)
    26 (based on Miss. Const.); Pope v. Village Apartments, Ltd., No. 92-71-436 CV (Miss. 1st
       Cir. Ct. Jan. 23, 1995) (unpublished opinion) (Gibbs, J.) (civil); Mississippi v. Hand, No.
    27 CR89-49-C(T-2) (Miss. 2d Cir. Ct. July 31, 1990) (unpublished opinion) (criminal); In
    28 re Grand Jury Subpoena, No. 38664 (Miss. 1st Cir. Ct. Oct. 4, 1989) (unpublished
       opinion) (grand jury); Missouri ex rel. Classic III, Inc., 954 S.W.2d 650 (Mo. Ct. App.

                                                      60
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 65 of 116 Page ID #:68


     1         The federal common law, as it looks to state law (in this case California law), is
     2 robust and provides another avenue and layer of protection for Vary. Again, California
     3 law provides an absolute protection against the disclosure of any type of unpublished
     4 information from a journalist in a civil case. Fowler’s briefing does not address the
     5 federal common law even though it was raised repeatedly by Vary’s counsel. See, e.g.,
     6 Ex. 7 at 7-9.
     7         For all of the foregoing reasons, Fowler’s motion as to the Deposition Subpoena
     8 should be denied.
     9 V.      DOCUMENT SUBPOENA
    10         A.      Document Request No. 1
    11         Mr. Fowler’s Request No. 1:
    12         All Documents Concerning any Communication between You and Plaintiff about
    13 Fowler.
    14         Vary’s Response to Request No. 1 :
    15         Vary incorporates by reference, as if fully set forth herein, the General Objections
    16 set forth above. Vary objects to this Request to the extent that it calls for material
    17 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    18 to the extent that it calls for material protected from disclosure by the attorney-client
    19 privilege, the attorney work product doctrine, and any other applicable privilege or
    20 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    21 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    22 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    23 extent that it calls for material that is publicly available and/or equally accessible to the
    24 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    25
    26 1997) (civil); New Hampshire v. Siel, 444 A.2d 499 (N.H. 1982) (criminal); Opinion of
    27 Justices, 373 A.2d 644 (N.H. 1977 (civil statutory proceeding); Vermont v. St. Peter, 315
       A.2d 254 (Vt. 1974) (criminal); Brown v. Virginia, 204 S.E.2d 429 (Va. 1974) (criminal);
    28 Clemente v. Clemente, 56 Va. Cir. 530 (2001) (civil); Philip Morris Co. v. ABC, 36 Va.
       Cir. 1 (1995) (civil).
                                                      61
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 66 of 116 Page ID #:69


     1 in Vary’s possession, custody, or control. Vary objects to this Request to the extent that
     2 it calls for material that is not relevant and/or not reasonably calculated to lead to the
     3 discovery of admissible evidence. Vary objects to this Request on the grounds that the
     4 burden associated with searching for and producing potentially responsive materials, if
     5 any, is not proportionate to the relevance, if any, of the requested material.
     6         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 1:
     7
     8         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

     9 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    10 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    11 made no showing that any reporters’ privilege/shield applies to some or all documents
    12 called for by this request. Even if some material were covered by that protection, it does
    13 not apply for the reasons explained above, especially given there is no suggestion it
    14 implicates confidential information. During the meet and confer conference between
    15 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    16 confidential sources. The material sought by this request cannot be obtained elsewhere
    17 and is necessary for important issues in this case, including Rapp’s credibility and the
    18 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    19 information.
    20       Mr. Vary’s other objections likewise are without merit. This request does not call

    21 for any attorney-client privileged or work product information, nor has Vary shown
    22 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    23 Vary already has known about and implicitly acquiesced to the production of his text
    24 messages with Rapp.
    25         Mr. Vary’s claims that this request calls for material outside his possession or

    26 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    27 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    28 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also


                                                     62
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 67 of 116 Page ID #:70


     1 acknowledged he has not even attempted to look for any documents responsive to the
     2 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
     3 unsubstantiated and illusory.
     4         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
     5 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
     6 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
     7 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
     8 – must “describe the nature of the withheld documents, communications, or tangible
     9 things in a manner that, without revealing information itself privileged or protected, will
    10 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    11 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    12 responsive documents.
    13         Mr. Vary’s Statement Regarding Request No. 1:
    14         Vary drew consistent lines for the Document Subpoena: (1) Vary offered to
    15 produce published articles concerning Fowler, but Fowler’s counsel stated that they
    16 already had the published articles and did not want them from Vary; (2) Vary produced
    17 his very limited direct communications with Rapp’s counsel; (3) Vary would not produce
    18 unpublished newsgathering information concerning his reporting because of the
    19 reporter’s privilege/shield as covered by California’s Shield Law (Constitution, Art. 1, §
    20 2(b) and California Evidence Code § 1070(a)), the Ninth Circuit’s First Amendment-
    21 based privilege and the common law; and (4) he would not undertake to search for or
    22 produce irrelevant documents – i.e., documents that did not relate to Fowler, Rapp and
    23 the allegations in this case – unless Fowler could articulate in the meet and confer process
    24 a reason such material was relevant, but Fowler’s counsel did not articulate any such
    25 reasons. See Ex. 7 at 10; Jassy Decl. ¶ 8. During the meet and confer process, Vary’s
    26 counsel also offered to discuss any documents that did not fall into the aforementioned
    27 categories, but Fowler’s counsel did take up Vary’s counsel on that offer either. Id.
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                                                     63
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 68 of 116 Page ID #:71


     1         Vary repeatedly explained, categorically, what was being withheld on the basis of
     2 the Reporter’s Privilege/Shield. For example, Vary’s counsel’s letter of January 5, 2022
     3 repeated the positions taken since before the Vary deposition about the document
     4 requests:
     5                Our position is that all of Defendant’s requests for
                      production call for material protected from disclosure by,
     6                among other things, the Reporter’s Privilege/Shield. Indeed,
     7                some do expressly and directly … Without conceding that
                      any documents Mr. Vary may have are relevant to this case,
     8                Mr. Vary's only potentially relevant connection to this case
     9                is in his capacity as a journalist and any documents he may
                      have pertaining to the matter (such as notes, drafts,
    10                communications with sources and editors, etc.) were
    11                gathered and/or generated in the course of newsgathering,
                      and are therefore protected from disclosure by the Reporter's
    12                Privilege/Shield. Any documents that are not protected by
                      the Reporter’s Privilege/Shield would not be relevant.
    13
                  14
    14 Ex. 7 at 9. Taking Request No. 1, for example, which asks for all communications
    15 between Rapp and Vary about Fowler, Vary’s position is that all such communications
    16 and all documents “concerning” such communications would fall within either the
    17 Reporter’s Privilege/Shield (if unpublished) or would be part of published articles
    18 (which Fowler’s counsel already had and did not want or need from Vary).
    19       As discussed above, Fowler cannot overcome the absolute protection from

    20 disclosure afforded by California’s Shield Law. Moreover, he does not articulate how
    21 he can satisfy each of the three parts of the Ninth Circuit’s First Amendment-based
    22 privilege with respect to each Request. And he makes no effort to address the common
    23 law privilege.
    24         Fowler also insists on forcing Vary to generate a privilege log. Vary’s counsel

    25 has explained that imposing such a burden on Vary is unwarranted when Vary is making
    26 categorical statements about what was privileged. Vary also asked for authority
    27
    28         14
                 After sending this letter, Vary discovered – and produced – all communications
         (which were text messages) between himself and Rapp’s counsel. Jassy Decl. ¶ 8.
                                                     64
           JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                   ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 69 of 116 Page ID #:72


     1 requiring a non-party to produce a privilege log under any circumstances, let alone where
     2 the non-party was making categorical assertions of privilege and was being asked to
     3 comb through years of potentially responsive documents and communications that he
     4 would withhold on privilege grounds in any event. Ex. 7 at 9-10. Fowler’s counsel
     5 provided no such authority. By contrast, Vary provided authority supporting Vary’s
     6 position that such a log was not necessary and should not be imposed on Vary. Ex. 7 at
     7 10 (citing Perry v. Schwarzenegger, 268 F.R.D. 344, 353 (N.D. Cal. 2010) (in order to
     8 reduce and eliminate unnecessary burdens on non-party, district court upheld magistrate
     9 judge’s ruling that non-party did not have to create a privilege log); Xcentric Ventures,
    10 LLC v. Borodkin, 934 F.Supp.2d 1125, 1147 (D. Ariz. 2013) (recognizing unfairness of
    11 requiring a non-party to generate a privilege log where the underlying materials would
    12 be privileged in any event)). Fowler’s portion of this joint stipulation does not address
    13 that authority.
    14         Fowler issued three document subpoenas to Vary, two with 30 requests and one
    15 with 29 requests. Even one subpoena to a non-party with 29 requests is, on its face, not
    16 consistent with counsel’s obligation to take “reasonable steps to avoid imposing undue
    17 burden or expense” on a subpoenaed non-party. FRCP 45(d)(1). Fowler’s counsel
    18 considered it a compromise to drop just one of 30 requests, and not to seek confidential
    19 sources. It is important to recall that California’s Shield Law and the First Amendment
    20 privilege apply whether or not information is confidential. See Shoen I, 5 F.3d at 1295;
    21 Shoen II, 48 F.3d at 414; Delaney, 50 Cal. 3d at 798; New York Times, 51 Cal. 3d at 461-
    22 62; Miller, 21 Cal. 4th at 897.
    23         It is plain that Fowler (Kevin Spacey) is a well-financed litigant who knows that
    24 it was Vary’s good reporting that opened the floodgates of accusations against Fowler,
    25 by not just Rapp but many others. Fowler knew he had no suit against Vary, having
    26 apologized for what “what would have been deeply inappropriate drunken behavior.”
    27 Ex. 10 at 4. Instead, he is piling on Vary and making every effort possible to burden and
    28 harass him – with an over seven-hour deposition, 29+ document demands (delivered

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 70 of 116 Page ID #:73


     1 three times) and now this motion – all with the unabashed aim to strip Vary of his
     2 constitutional rights. Fowler’s conduct is an abusive and harassing vendetta against a
     3 non-party.
     4         Vary respectfully requests that the Court award fees and cost sanctions against
     5 Fowler under its inherent power and/or FRCP 45(d)(2)(B)(ii). See also Legal Voice v.
     6 Stormans Inc., 738 F.3d 1178, 1184 (9th Cir. 2013); Nitsch v. DreamWorks Animation
     7 SKG Inc., 2017 WL 930809 (N.D. Cal. Mar. 9, 2017). Vary’s counsel has incurred more
     8 than $18,000 in fees and costs on this motion alone, not including sitting for a more than
     9 seven-hour deposition and responding to Fowler’s seriatum subpoenas. Jassy Decl. ¶ 9.
    10         Finally, Vary does not want to burden the Court with repetitive analyses with
    11 respect to all of the following Requests. Instead, Vary will refer back to this Response,
    12 and note any particular additional issues that may be unique to other Requests. For
    13 example, to avoid repetition, Vary notes that each of Fowler’s broad requests calling for
    14 “All Documents concerning” various subjects arguably encompasses attorney-client
    15 privileged materials that Vary should not have to disclose.
    16
    17         B.     Document Request No. 2
    18         Mr. Fowler’s Request No. 2:
    19         All Documents Concerning any Communication between You and Plaintiff about
    20 Fowler's alleged sexual abuse and/or assault of Plaintiff.
    21         Mr. Vary’s Response to Request No. 2:
    22         Vary incorporates by reference, as if fully set forth herein, the General Objections
    23 set forth above. Vary objects to this Request to the extent that it calls for material
    24 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    25 to the extent that it calls for material protected from disclosure by the attorney-client
    26 privilege, the attorney work product doctrine, and any other applicable privilege or
    27 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    28 protected from disclosure by the right to privacy. Vary objects to this Request as vague,

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          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 71 of 116 Page ID #:74


     1 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
     2 extent that it calls for material that is publicly available and/or equally accessible to the
     3 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
     4 in Vary’s possession, custody, or control. Vary objects to this Request to the extent that
     5 it calls for material that is not relevant and/or not reasonably calculated to lead to the
     6 discovery of admissible evidence. Vary objects to this Request on the grounds that the
     7 burden associated with searching for and producing potentially responsive materials, if
     8 any, is not proportionate to the relevance, if any, of the requested material.
     9         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 2 :
    10
    11         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    12 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    13 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    14 made no showing that any reporters’ privilege/shield applies to some or all documents
    15 called for by this request. Even if some material were covered by that protection, it does
    16 not apply for the reasons explained above, especially given there is no suggestion it
    17 implicates confidential information. During the meet and confer conference between
    18 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    19 confidential sources. The material sought by this request cannot be obtained elsewhere
    20 and is necessary for important issues in this case, including Rapp’s credibility and the
    21 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    22 information.
    23       Mr. Vary’s other objections likewise are without merit. This request does not call

    24 for any attorney-client privileged or work product information, nor has Vary shown
    25 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    26 Vary already has known about and implicitly acquiesced to the production of his text
    27 messages with Rapp.
    28

                                                      67
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 72 of 116 Page ID #:75


     1         Mr. Vary’s claims that this request calls for material outside his possession or
     2 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
     3 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
     4 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
     5 acknowledged he has not even attempted to look for any documents responsive to the
     6 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
     7 unsubstantiated and illusory.
     8         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
     9 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    10 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    11 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    12 – must “describe the nature of the withheld documents, communications, or tangible
    13 things in a manner that, without revealing information itself privileged or protected, will
    14 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    15 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    16 responsive documents.
    17         Mr. Vary’s Statement Regarding Request No. 2:
    18         Vary respectfully refers the Court to his statement regarding Request No. 1.
    19
    20         C.     Document Request No. 3
    21         Mr. Fowler’s Request No. 3:
    22         All Documents Concerning any action You took relating to Fowler's alleged
    23 sexual abuse and/or assault of Plaintiff after learning of it.
    24         Mr. Vary’s Response to Request No . 3:
    25         Vary incorporates by reference, as if fully set forth herein, the General Objections
    26 set forth above. Vary objects to this Request to the extent that it calls for material
    27 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    28 to the extent that it calls for material protected from disclosure by the attorney-client

                                                      68
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 73 of 116 Page ID #:76


     1 privilege, the attorney work product doctrine, and any other applicable privilege or
     2 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
     3 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
     4 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
     5 extent that it calls for material that is publicly available and/or equally accessible to the
     6 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
     7 in Vary’s possession, custody, or control. Vary objects to this Request to the extent that
     8 it calls for material that is not relevant and/or not reasonably calculated to lead to the
     9 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    10 burden associated with searching for and producing potentially responsive materials, if
    11 any, is not proportionate to the relevance, if any, of the requested material.
    12         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 3:
    13
    14         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    15 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    16 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    17 made no showing that any reporters’ privilege/shield applies to some or all documents
    18 called for by this request. Even if some material were covered by that protection, it does
    19 not apply for the reasons explained above, especially given there is no suggestion it
    20 implicates confidential information. During the meet and confer conference between
    21 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    22 confidential sources. The material sought by this request cannot be obtained elsewhere
    23 and is necessary for important issues in this case, including Rapp’s credibility and the
    24 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    25 information.
    26       Mr. Vary’s other objections likewise are without merit. This request does not call

    27 for any attorney-client privileged or work product information, nor has Vary shown
    28 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.

                                                      69
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 74 of 116 Page ID #:77


     1 Vary already has known about and implicitly acquiesced to the production of his text
     2 messages with Rapp.
     3         Mr. Vary’s claims that this request calls for material outside his possession or
     4 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
     5 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
     6 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
     7 acknowledged he has not even attempted to look for any documents responsive to the
     8 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
     9 unsubstantiated and illusory.
    10         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    11 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    12 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    13 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    14 – must “describe the nature of the withheld documents, communications, or tangible
    15 things in a manner that, without revealing information itself privileged or protected, will
    16 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    17 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    18 responsive documents.
    19         Mr. Vary’s Statement Regarding Request No. 3:
    20         Vary respectfully refers the Court to his statement regarding Request No. 1.
    21
    22         D.     Document Request No. 4
    23         Mr. Fowler’s Request No. 4:
    24         All Documents Concerning any Communication between You and Plaintiff about
    25 any claim by Plaintiff of sexual misconduct or sexual assault.
    26         Mr. Vary’s Response to Request No . 4:
    27         Vary incorporates by reference, as if fully set forth herein, the General Objections
    28 set forth above. Vary objects to this Request to the extent that it calls for material

                                                     70
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 75 of 116 Page ID #:78


     1 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
     2 to the extent that it calls for material protected from disclosure by the attorney-client
     3 privilege, the attorney work product doctrine, and any other applicable privilege or
     4 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
     5 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
     6 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
     7 extent that it calls for material that is publicly available and/or equally accessible to the
     8 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
     9 in Vary’s possession, custody, or control. Vary objects to this Request to the extent that
    10 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    11 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    12 burden associated with searching for and producing potentially responsive materials, if
    13 any, is not proportionate to the relevance, if any, of the requested material.
    14         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 4:
    15
    16         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    17 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    18 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    19 made no showing that any reporters’ privilege/shield applies to some or all documents
    20 called for by this request. Even if some material were covered by that protection, it does
    21 not apply for the reasons explained above, especially given there is no suggestion it
    22 implicates confidential information. During the meet and confer conference between
    23 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    24 confidential sources. The material sought by this request cannot be obtained elsewhere
    25 and is necessary for important issues in this case, including Rapp’s credibility and the
    26 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    27 information.
    28

                                                      71
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 76 of 116 Page ID #:79


     1         Mr. Vary’s other objections likewise are without merit. This request does not call
     2 for any attorney-client privileged or work product information, nor has Vary shown
     3 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
     4 Vary already has known about and implicitly acquiesced to the production of his text
     5 messages with Rapp.
     6         Mr. Vary’s claims that this request calls for material outside his possession or
     7 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
     8 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
     9 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    10 acknowledged he has not even attempted to look for any documents responsive to the
    11 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    12 unsubstantiated and illusory.
    13         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    14 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    15 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    16 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    17 – must “describe the nature of the withheld documents, communications, or tangible
    18 things in a manner that, without revealing information itself privileged or protected, will
    19 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    20 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    21 responsive documents.
    22         Mr. Vary’s Statement Regarding Request No. 4:
    23         Vary respectfully refers the Court to his statement regarding Request No. 1.
    24
    25         E.     Document Request No. 5
    26         Mr. Fowler’s Request No. 5:
    27         All Documents Concerning any action You took relating to Fowler's alleged
    28 sexual abuse and/or assault of Plaintiff after learning of it.

                                                      72
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 77 of 116 Page ID #:80


     1         Mr. Vary’s Response to Request No . 5:
     2         Vary incorporates by reference, as if fully set forth herein, the General Objections
     3 set forth above. Vary objects to this Request to the extent that it calls for material
     4 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
     5 to the extent that it calls for material protected from disclosure by the attorney-client
     6 privilege, the attorney work product doctrine, and any other applicable privilege or
     7 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
     8 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
     9 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    10 extent that it calls for material that is publicly available and/or equally accessible to the
    11 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    12 in Vary’s possession, custody, or control. Vary objects to this Request to the extent that
    13 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    14 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    15 burden associated with searching for
    16         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
    17         to Document Request No. 5:

    18         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    19 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    20 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    21 made no showing that any reporters’ privilege/shield applies to some or all documents
    22 called for by this request. Even if some material were covered by that protection, it does
    23 not apply for the reasons explained above, especially given there is no suggestion it
    24 implicates confidential information. During the meet and confer conference between
    25 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    26 confidential sources. The material sought by this request cannot be obtained elsewhere
    27 and is necessary for important issues in this case, including Rapp’s credibility and the
    28

                                                      73
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 78 of 116 Page ID #:81


     1 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
     2 information.
     3         Mr. Vary’s other objections likewise are without merit. This request does not call
     4 for any attorney-client privileged or work product information, nor has Vary shown
     5 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
     6 Vary already has known about and implicitly acquiesced to the production of his text
     7 messages with Rapp.
     8         Mr. Vary’s claims that this request calls for material outside his possession or
     9 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    10 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    11 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    12 acknowledged he has not even attempted to look for any documents responsive to the
    13 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    14 unsubstantiated and illusory.
    15         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    16 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    17 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    18 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    19 – must “describe the nature of the withheld documents, communications, or tangible
    20 things in a manner that, without revealing information itself privileged or protected, will
    21 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    22 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    23 responsive documents.
    24         Mr. Vary’s Statement Regarding Request No. 5:
    25         Vary respectfully refers the Court to his statement regarding Request No. 1.
    26
    27
    28

                                                     74
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 79 of 116 Page ID #:82


     1         F.     Document Request No. 6
     2         Mr. Fowler’s Request No. 6:
     3         All Documents in Your custody, possession, or control Concerning any claim by
     4 Plaintiff that he was a victim of sexual misconduct or sexual assault.
     5         Mr. Vary’s Response to Request No . 6:
     6         Vary incorporates by reference, as if fully set forth herein, the General Objections
     7 set forth above. Vary objects to this Request to the extent that it calls for material
     8 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
     9 to the extent that it calls for material protected from disclosure by the attorney-client
    10 privilege, the attorney work product doctrine, and any other applicable privilege or
    11 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    12 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    13 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    14 extent that it calls for material that is publicly available and/or equally accessible to the
    15 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    16 in Vary's possession, custody or control. Vary objects to this Request to the extent that it
    17 calls for material that is not relevant and/or not reasonably calculated to lead to the
    18 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    19 burden associated with searching for and producing potentially responsive materials, if
    20 any, is not proportionate to the relevance, if any, of the requested material.
    21         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 6:
    22
    23                Mr. Vary’s objections to this request are without merit.          Mr. Vary’s

    24 objections based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons
    25 discussed above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years.
    26 He has made no showing that any reporters’ privilege/shield applies to some or all
    27 documents called for by this request. Even if some material were covered by that
    28 protection, it does not apply for the reasons explained above, especially given there is no

                                                      75
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 80 of 116 Page ID #:83


     1 suggestion it implicates confidential information. During the meet and confer conference
     2 between counsel, Mr. Fowler limited the scope by stating he is not seeking information
     3 from confidential sources. The material sought by this request cannot be obtained
     4 elsewhere and is necessary for important issues in this case, including Rapp’s credibility
     5 and the details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
     6 information.
     7         Mr. Vary’s other objections likewise are without merit. This request does not call
     8 for any attorney-client privileged or work product information, nor has Vary shown
     9 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    10 Vary already has known about and implicitly acquiesced to the production of his text
    11 messages with Rapp.
    12         Mr. Vary’s claims that this request calls for material outside his possession or
    13 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    14 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    15 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    16 acknowledged he has not even attempted to look for any documents responsive to the
    17 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    18 unsubstantiated and illusory.
    19         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    20 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    21 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    22 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    23 – must “describe the nature of the withheld documents, communications, or tangible
    24 things in a manner that, without revealing information itself privileged or protected, will
    25 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    26 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    27 responsive documents.
    28

                                                     76
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 81 of 116 Page ID #:84


     1         Mr. Vary’s Statement Regarding Request No. 6:
     2         Vary respectfully refers the Court to his statement regarding Request No. 1.
     3
     4         G.     Document Request No. 9
     5         Mr. Fowler’s Request No. 9:
     6         All Documents Concerning any Communication between You and Plaintiff about
     7 any sexual encounter involving Plaintiff.
     8         Mr. Vary’s Response to Request No . 9:
     9         Vary incorporates by reference, as if fully set forth herein, the General Objections
    10 set forth above. Vary objects to this Request to the extent that it calls for material
    11 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    12 to the extent that it calls for material protected from disclosure by the attorney-client
    13 privilege, the attorney work product doctrine, and any other applicable privilege or
    14 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    15 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    16 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    17 extent that it calls for material that is publicly available and/or equally accessible to the
    18 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    19 in Vary’s possession, custody, or control. Vary objects to this Request to the extent that
    20 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    21 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    22 burden associated with searching for and producing potentially responsive materials, if
    23 any, is not proportionate to the relevance, if any, of the requested material.
    24         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 9:
    25
    26         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    27 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    28 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has

                                                      77
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 82 of 116 Page ID #:85


     1 made no showing that any reporters’ privilege/shield applies to some or all documents
     2 called for by this request. Even if some material were covered by that protection, it does
     3 not apply for the reasons explained above, especially given there is no suggestion it
     4 implicates confidential information. During the meet and confer conference between
     5 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
     6 confidential sources. The material sought by this request cannot be obtained elsewhere
     7 and is necessary for important issues in this case, including Rapp’s credibility and the
     8 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
     9 information.
    10         Mr. Vary’s other objections likewise are without merit. This request does not call
    11 for any attorney-client privileged or work product information, nor has Vary shown
    12 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    13 Vary already has known about and implicitly acquiesced to the production of his text
    14 messages with Rapp.
    15         Mr. Vary’s claims that this request calls for material outside his possession or
    16 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    17 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    18 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    19 acknowledged he has not even attempted to look for any documents responsive to the
    20 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    21 unsubstantiated and illusory.
    22         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    23 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    24 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    25 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    26 – must “describe the nature of the withheld documents, communications, or tangible
    27 things in a manner that, without revealing information itself privileged or protected, will
    28 enable the parties to assess the claim.” Mr. Vary has not provided such information here.

                                                     78
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 83 of 116 Page ID #:86


     1 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
     2 responsive documents.
     3         Mr. Vary’s Statement Regarding Request No. 9:
     4         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
     5 adds that this overbroad request calls for an unwarranted invasion of the right to privacy.
     6
     7         H.     Document Request No. 11
     8         Mr. Fowler’s Request No. 11:
     9         All Documents Concerning Any Communication between You and Plaintiff about
    10 any psychological injury or emotional distress suffered by Plaintiff.
    11         Mr. Vary’s Response to Request No . 11:
    12         Vary incorporates by reference, as if fully set forth herein, the General Objections
    13 set forth above. Vary objects to this Request to the extent that it calls for material
    14 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    15 to the extent that it calls for material protected from disclosure by the attorney-client
    16 privilege, the attorney work product doctrine, and any other applicable privilege or
    17 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    18 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    19 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    20 extent that it calls for material that is publicly available and/or equally accessible to the
    21 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    22 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
    23 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    24 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    25 burden .associated with searching for and producing potentially responsive materials, if
    26 any, is not proportionate to the relevance, if any, of the requested material.
    27
    28

                                                      79
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 84 of 116 Page ID #:87


     1         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 11:
     2
     3         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

     4 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
     5 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
     6 made no showing that any reporters’ privilege/shield applies to some or all documents
     7 called for by this request. Even if some material were covered by that protection, it does
     8 not apply for the reasons explained above, especially given there is no suggestion it
     9 implicates confidential information. During the meet and confer conference between
    10 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    11 confidential sources. The material sought by this request cannot be obtained elsewhere
    12 and is necessary for important issues in this case, including Rapp’s credibility and the
    13 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    14 information.
    15       Mr. Vary’s other objections likewise are without merit. This request does not call

    16 for any attorney-client privileged or work product information, nor has Vary shown
    17 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    18 Vary already has known about and implicitly acquiesced to the production of his text
    19 messages with Rapp.
    20         Mr. Vary’s claims that this request calls for material outside his possession or

    21 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    22 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    23 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23). Mr. Vary also
    24 acknowledged he has not even attempted to look for any documents responsive to the
    25 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    26 unsubstantiated and illusory.
    27         Finally, to the extent Mr. Vary is permitted to withhold any documents based on

    28 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log

                                                     80
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 85 of 116 Page ID #:88


     1 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
     2 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
     3 – must “describe the nature of the withheld documents, communications, or tangible
     4 things in a manner that, without revealing information itself privileged or protected, will
     5 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
     6 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
     7 responsive documents.
     8         Mr. Vary’s Statement Regarding Request No. 11:
     9         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
    10 adds that this overbroad request calls for an unwarranted invasion of the right to privacy.
    11
    12         I.     Document Request No. 12
    13         Mr. Fowler’s Request No. 12:
    14         All Documents Concerning any Communication between You and Plaintiff about
    15 Plaintiff's experience working on Broadway in “Precious Sons” in approximately 1986.
    16         Mr. Vary’s Response to Request No . 12:
    17         Vary incorporates by reference, as if fully set forth herein, the General Objections
    18 set forth above. Vary objects to this Request to the extent that it calls for material
    19 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    20 to the extent that it calls for material protected from disclosure by the attorney-client
    21 privilege, the attorney work product doctrine, and any other applicable privilege or
    22 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    23 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    24 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    25 extent that it calls for material that is publicly available and/or equally accessible to the
    26 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    27 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
    28 it calls for material that is not relevant and/or not reasonably calculated to lead to the

                                                      81
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 86 of 116 Page ID #:89


     1 discovery of admissible evidence. Vary objects to this Request on the grounds that the
     2 burden associated with searching for and producing potentially responsive materials, if
     3 any, is not proportionate to the relevance, if any, of the requested material.
     4         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 12:
     5
     6         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

     7 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
     8 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
     9 made no showing that any reporters’ privilege/shield applies to some or all documents
    10 called for by this request. Even if some material were covered by that protection, it does
    11 not apply for the reasons explained above, especially given there is no suggestion it
    12 implicates confidential information. During the meet and confer conference between
    13 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    14 confidential sources. The material sought by this request cannot be obtained elsewhere
    15 and is necessary for important issues in this case, including Rapp’s credibility and the
    16 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    17 information.
    18       Mr. Vary’s other objections likewise are without merit. This request does not call

    19 for any attorney-client privileged or work product information, nor has Vary shown
    20 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    21 Vary already has known about and implicitly acquiesced to the production of his text
    22 messages with Rapp.
    23         Mr. Vary’s claims that this request calls for material outside his possession or

    24 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    25 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    26 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23). Mr. Vary also
    27 acknowledged he has not even attempted to look for any documents responsive to the
    28

                                                     82
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 87 of 116 Page ID #:90


     1 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
     2 unsubstantiated and illusory.
     3         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
     4 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
     5 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
     6 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
     7 – must “describe the nature of the withheld documents, communications, or tangible
     8 things in a manner that, without revealing information itself privileged or protected, will
     9 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    10 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    11 responsive documents.
    12         Mr. Vary’s Statement Regarding Request No. 12:
    13         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
    14 adds that this Request is not relevant to this action, and Fowler does not explain how it
    15 could be.
    16
    17         J.     Document Request No. 13
    18         Mr. Fowler’s Request No. 13:
    19         All Documents Concerning any Communication between You and Plaintiff about
    20 Plaintiffs experience working on Broadway in “The Little Prince.”
    21         Mr. Vary’s Response to Request No . 13:
    22         Vary incorporates by reference, as if fully set forth herein, the General Objections
    23 set forth above. Vary objects to this Request to the extent that it calls for material
    24 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    25 to the extent that it calls for material protected from disclosure by the attorney-client
    26 privilege, the attorney work product doctrine, and any other applicable privilege or
    27 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    28 protected from disclosure by the right to privacy. Vary objects to this Request as vague,

                                                     83
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 88 of 116 Page ID #:91


     1 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
     2 extent that it calls for material that is publicly available and/or equally accessible to the
     3 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
     4 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
     5 it calls for material that is not relevant and/or not reasonably calculated to lead to the
     6 discovery of admissible evidence. Vary objects to this Request on the grounds that the
     7 burden associated with searching for and producing potentially responsive materials, if
     8 any, is not proportionate to the relevance, if any, of the requested material.
     9         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 13:
    10
    11         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    12 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    13 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    14 made no showing that any reporters’ privilege/shield applies to some or all documents
    15 called for by this request. Even if some material were covered by that protection, it does
    16 not apply for the reasons explained above, especially given there is no suggestion it
    17 implicates confidential information. During the meet and confer conference between
    18 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    19 confidential sources. The material sought by this request cannot be obtained elsewhere
    20 and is necessary for important issues in this case, including Rapp’s credibility and the
    21 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    22 information.
    23       Mr. Vary’s other objections likewise are without merit. This request does not call

    24 for any attorney-client privileged or work product information, nor has Vary shown
    25 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    26 Vary already has known about and implicitly acquiesced to the production of his text
    27 messages with Rapp.
    28

                                                      84
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 89 of 116 Page ID #:92


     1         Mr. Vary’s claims that this request calls for material outside his possession or
     2 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
     3 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
     4 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
     5 acknowledged he has not even attempted to look for any documents responsive to the
     6 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
     7 unsubstantiated and illusory.
     8         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
     9 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    10 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    11 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    12 – must “describe the nature of the withheld documents, communications, or tangible
    13 things in a manner that, without revealing information itself privileged or protected, will
    14 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    15 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    16 responsive documents.
    17         Mr. Vary’s Statement Regarding Request No. 13:
    18         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
    19 adds that this Request is not relevant to this action, and Fowler does not explain how it
    20 could be.
    21
    22         K.     Document Request No. 14
    23         Mr. Fowler’s Request No. 14:
    24         All Documents Concerning any Communication between You and Plaintiff about
    25 Plaintiffs' experience working as an actor in New York before he turned 18 years old.
    26         Mr. Vary’s Response to Request No . 14:
    27         Vary incorporates by reference, as if fully set forth herein, the General Objections
    28 set forth above. Vary objects to this Request to the extent that it calls for material

                                                     85
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 90 of 116 Page ID #:93


     1 protected from disclosure by the Reporter ' s Privilege/Shield. Vary objects to this
     2 Request to the extent that it calls for material protected from disclosure by the attorney-
     3 client privilege, the attorney work product doctrine, and any other applicable privilege
     4 or doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
     5 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
     6 ambiguous, overbroad and unduly burdensome. Vary objects to this Request to the extent
     7 that it calls for material that is publicly available and/or equally accessible to the
     8 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
     9 in Vary ' s possession, custody or control. Vary objects to this Request to the extent that
    10 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    11 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    12 burden associated with searching for and producing potentially responsive materials, if
    13 any, is not proportionate to the relevance, if any, of the requested material.
    14         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 14:
    15
    16         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    17 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    18 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    19 made no showing that any reporters’ privilege/shield applies to some or all documents
    20 called for by this request. Even if some material were covered by that protection, it does
    21 not apply for the reasons explained above, especially given there is no suggestion it
    22 implicates confidential information. During the meet and confer conference between
    23 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    24 confidential sources. The material sought by this request cannot be obtained elsewhere
    25 and is necessary for important issues in this case, including Rapp’s credibility and the
    26 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    27 information.
    28

                                                       86
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 91 of 116 Page ID #:94


     1         Mr. Vary’s other objections likewise are without merit. This request does not call
     2 for any attorney-client privileged or work product information, nor has Vary shown
     3 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
     4 Vary already has known about and implicitly acquiesced to the production of his text
     5 messages with Rapp.
     6         Mr. Vary’s claims that this request calls for material outside his possession or
     7 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
     8 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
     9 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    10 acknowledged he has not even attempted to look for any documents responsive to the
    11 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    12 unsubstantiated and illusory.
    13         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    14 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    15 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    16 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    17 – must “describe the nature of the withheld documents, communications, or tangible
    18 things in a manner that, without revealing information itself privileged or protected, will
    19 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    20 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    21 responsive documents.
    22         Mr. Vary’s Statement Regarding Request No. 14:
    23         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
    24 adds that this Request is not relevant to this action, and Fowler does not explain how it
    25 could be.
    26
    27
    28

                                                     87
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 92 of 116 Page ID #:95


     1         L.     Document Request No. 15
     2         Mr. Fowler’s Request No. 15:
     3         All Documents Concerning any Communication between You and Plaintiff about
     4 Yul Brynner.
     5         Mr. Vary’s Response to Request No . 15:
     6         Vary incorporates by reference, as if fully set forth herein, the General Objections
     7 set forth above. Vary objects to this Request to the extent that it calls for material
     8 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
     9 to the extent that it calls for material protected from disclosure by the attorney-client
    10 privilege, the attorney work product doctrine, and any other applicable privilege or
    11 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    12 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    13 ambiguous, overbroad and unduly burdensome. Vary objects to this Request to the extent
    14 that it calls for material that is publicly available and/or equally accessible to the
    15 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    16 in Vary's possession, custody or control. Vary objects to this Request to the extent that it
    17 calls for material that is not relevant and/or not reasonably calculated to lead to the
    18 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    19 burden associated with searching for and producing potentially responsive materials, if
    20 any, is not proportionate to the relevance, if any, of the requested material.
    21         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 15:
    22
    23         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    24 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    25 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    26 made no showing that any reporters’ privilege/shield applies to some or all documents
    27 called for by this request. Even if some material were covered by that protection, it does
    28 not apply for the reasons explained above, especially given there is no suggestion it

                                                     88
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 93 of 116 Page ID #:96


     1 implicates confidential information. During the meet and confer conference between
     2 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
     3 confidential sources. The material sought by this request cannot be obtained elsewhere
     4 and is necessary for important issues in this case, including Rapp’s credibility and the
     5 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
     6 information.
     7         Mr. Vary’s other objections likewise are without merit. This request does not call
     8 for any attorney-client privileged or work product information, nor has Vary shown
     9 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    10 Vary already has known about and implicitly acquiesced to the production of his text
    11 messages with Rapp.
    12         Mr. Vary’s claims that this request calls for material outside his possession or
    13 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    14 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    15 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    16 acknowledged he has not even attempted to look for any documents responsive to the
    17 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    18 unsubstantiated and illusory.
    19         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    20 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    21 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    22 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    23 – must “describe the nature of the withheld documents, communications, or tangible
    24 things in a manner that, without revealing information itself privileged or protected, will
    25 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    26 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    27 responsive documents.
    28

                                                     89
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 94 of 116 Page ID #:97


     1         Mr. Vary’s Statement Regarding Request No. 15:
     2         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
     3 adds that this Request is not relevant to this action, and Fowler does not explain how it
     4 could be.
     5
     6         M.     Document Request No. 16
     7         Mr. Fowler’s Request No. 16:
     8         All Documents Concerning any Communication between You and Plaintiff about
     9 Susan Tyrell.
    10         Mr. Vary’s Response to Request No . 16:
    11         Vary incorporates by reference, as if fully set forth herein, the General Objections
    12 set forth above. Vary objects to this Request to the extent that it calls for material
    13 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    14 to the extent that it calls for material protected from disclosure by the attorney-client
    15 privilege, the attorney work product doctrine, and any other applicable privilege or
    16 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    17 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    18 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    19 extent that it calls for material that is publicly available and/or equally accessible to the
    20 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    21 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
    22 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    23 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    24 burden associated with searching for and producing potentially responsive materials, if
    25 any, is not proportionate to the relevance, if any, of the requested material.
    26
    27
    28

                                                      90
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 95 of 116 Page ID #:98


     1         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
               to Document Request No. 16:
     2
     3         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

     4 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
     5 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
     6 made no showing that any reporters’ privilege/shield applies to some or all documents
     7 called for by this request. Even if some material were covered by that protection, it does
     8 not apply for the reasons explained above, especially given there is no suggestion it
     9 implicates confidential information. During the meet and confer conference between
    10 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    11 confidential sources. The material sought by this request cannot be obtained elsewhere
    12 and is necessary for important issues in this case, including Rapp’s credibility and the
    13 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    14 information.
    15       Mr. Vary’s other objections likewise are without merit. This request does not call

    16 for any attorney-client privileged or work product information, nor has Vary shown
    17 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    18 Vary already has known about and implicitly acquiesced to the production of his text
    19 messages with Rapp.
    20         Mr. Vary’s claims that this request calls for material outside his possession or

    21 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    22 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    23 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23). Mr. Vary also
    24 acknowledged he has not even attempted to look for any documents responsive to the
    25 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    26 unsubstantiated and illusory.
    27         Finally, to the extent Mr. Vary is permitted to withhold any documents based on

    28 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log

                                                     91
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 96 of 116 Page ID #:99


     1 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
     2 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
     3 – must “describe the nature of the withheld documents, communications, or tangible
     4 things in a manner that, without revealing information itself privileged or protected, will
     5 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
     6 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
     7 responsive documents.
     8         Mr. Vary’s Statement Regarding Request No. 16:
     9         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
    10 adds that this Request is not relevant to this action, and Fowler does not explain how it
    11 could be.
    12
    13         N.     Document Request No. 17
    14         Mr. Fowler’s Request No. 17:
    15         All Documents Concerning any Communication between You and Plaintiff about
    16 Ed Harris.
    17         Mr. Vary’s Response to Request No . 17:
    18         Vary incorporates by reference, as if fully set forth herein, the General Objections
    19 set forth above. Vary objects to this Request to the extent that it calls for material
    20 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    21 to the extent that it calls for material protected from disclosure by the attorney-client
    22 privilege, the attorney work product doctrine, and any other applicable privilege or
    23 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    24 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    25 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    26 extent that it calls for material that is publicly available and/or equally accessible to the
    27 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    28 in Vary's possession, custody, or control. Vary objects to this Request to the extent that

                                                      92
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 97 of 116 Page ID
                                 #:100

   1 it calls for material that is not relevant and/or not reasonably calculated to lead to the
   2 discovery of admissible evidence. Vary objects to this Request on the grounds that the
   3 burden associated with searching for and producing potentially responsive materials, if
   4 any, is not proportionate to the relevance, if any, of the requested material.
   5         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
             to Document Request No. 17:
   6
   7         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

   8 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
   9 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
  10 made no showing that any reporters’ privilege/shield applies to some or all documents
  11 called for by this request. Even if some material were covered by that protection, it does
  12 not apply for the reasons explained above, especially given there is no suggestion it
  13 implicates confidential information. During the meet and confer conference between
  14 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
  15 confidential sources. The material sought by this request cannot be obtained elsewhere
  16 and is necessary for important issues in this case, including Rapp’s credibility and the
  17 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
  18 information.
  19       Mr. Vary’s other objections likewise are without merit. This request does not call

  20 for any attorney-client privileged or work product information, nor has Vary shown
  21 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
  22 Vary already has known about and implicitly acquiesced to the production of his text
  23 messages with Rapp.
  24         Mr. Vary’s claims that this request calls for material outside his possession or

  25 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
  26 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
  27 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23). Mr. Vary also
  28 acknowledged he has not even attempted to look for any documents responsive to the

                                                   93
        JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 98 of 116 Page ID
                                 #:101

   1 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
   2 unsubstantiated and illusory.
   3         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
   4 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
   5 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
   6 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
   7 – must “describe the nature of the withheld documents, communications, or tangible
   8 things in a manner that, without revealing information itself privileged or protected, will
   9 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
  10 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
  11 responsive documents.
  12         Mr. Vary’s Statement Regarding Request No. 17:
  13         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
  14 adds that this Request is not relevant to this action, and Fowler does not explain how it
  15 could be.
  16
  17         O.     Document Request No. 18
  18         Mr. Fowler’s Request No. 18:
  19         All Documents Concerning any Communication between You and Plaintiff about
  20 Amy Madigan.
  21         Mr. Vary’s Response to Request No . 18:
  22         Vary incorporates by reference, as if fully set forth herein, the General Objections
  23 set forth above. Vary objects to this Request to the extent that it calls for material
  24 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
  25 to the extent that it calls for material protected from disclosure by the attorney-client
  26 privilege, the attorney work product doctrine, and any other applicable privilege or
  27 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
  28 protected from disclosure by the right to privacy. Vary objects to this Request as vague,

                                                   94
        JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 99 of 116 Page ID
                                 #:102

   1 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
   2 extent that it calls for material that is publicly available and/or equally accessible to the
   3 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
   4 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
   5 it calls for material that is not relevant and/or not reasonably calculated to lead to the
   6 discovery of admissible evidence. Vary objects to this Request on the grounds that the
   7 burden associated with searching for and producing potentially responsive materials, if
   8 any, is not proportionate to the relevance, if any, of the requested material.
   9         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
             to Document Request No. 18:
  10
  11         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

  12 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
  13 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
  14 made no showing that any reporters’ privilege/shield applies to some or all documents
  15 called for by this request. Even if some material were covered by that protection, it does
  16 not apply for the reasons explained above, especially given there is no suggestion it
  17 implicates confidential information. During the meet and confer conference between
  18 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
  19 confidential sources. The material sought by this request cannot be obtained elsewhere
  20 and is necessary for important issues in this case, including Rapp’s credibility and the
  21 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
  22 information.
  23       Mr. Vary’s other objections likewise are without merit. This request does not call

  24 for any attorney-client privileged or work product information, nor has Vary shown
  25 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
  26 Vary already has known about and implicitly acquiesced to the production of his text
  27 messages with Rapp.
  28

                                                    95
        JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 100 of 116 Page ID
                                  #:103

    1         Mr. Vary’s claims that this request calls for material outside his possession or
    2 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    3 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    4 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    5 acknowledged he has not even attempted to look for any documents responsive to the
    6 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    7 unsubstantiated and illusory.
    8         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    9 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
   10 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
   11 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
   12 – must “describe the nature of the withheld documents, communications, or tangible
   13 things in a manner that, without revealing information itself privileged or protected, will
   14 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
   15 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
   16 responsive documents.
   17         Mr. Vary’s Statement Regarding Request No. 18:
   18         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
   19 adds that this Request is not relevant to this action, and Fowler does not explain how it
   20 could be.
   21
   22         P.     Document Request No. 19
   23         Mr. Fowler’s Request No. 19:
   24         All Documents Concerning any Communication between You and Fowler.
   25         Mr. Vary’s Response to Request No . 19:
   26         Vary incorporates by reference, as if fully set forth herein, the General Objections
   27 set forth above. Vary objects to this Request to the extent that it calls for material
   28 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request

                                                    96
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 101 of 116 Page ID
                                  #:104

    1 to the extent that it calls for material protected from disclosure by the attorney-client
    2 privilege, the attorney work product doctrine, and any other applicable privilege or
    3 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    4 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    5 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
    6 extent that it calls for material that is publicly available and/or equally accessible to the
    7 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
    8 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
    9 it calls for material that is not relevant and/or not reasonably calculated to lead to the
   10 discovery of admissible evidence. Vary objects to this Request on the grounds that the
   11 burden associated with searching for and producing potentially responsive materials, if
   12 any, is not proportionate to the relevance, if any, of the requested material.
   13         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 19:
   14
   15         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

   16 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
   17 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
   18 made no showing that any reporters’ privilege/shield applies to some or all documents
   19 called for by this request. Even if some material were covered by that protection, it does
   20 not apply for the reasons explained above, especially given there is no suggestion it
   21 implicates confidential information. During the meet and confer conference between
   22 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
   23 confidential sources. The material sought by this request cannot be obtained elsewhere
   24 and is necessary for important issues in this case, including Rapp’s credibility and the
   25 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
   26 information.
   27       Mr. Vary’s other objections likewise are without merit. This request does not call

   28 for any attorney-client privileged or work product information, nor has Vary shown

                                                     97
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 102 of 116 Page ID
                                  #:105

    1 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    2 Vary already has known about and implicitly acquiesced to the production of his text
    3 messages with Rapp.
    4         Mr. Vary’s claims that this request calls for material outside his possession or
    5 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
    6 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
    7 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
    8 acknowledged he has not even attempted to look for any documents responsive to the
    9 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
   10 unsubstantiated and illusory.
   11         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
   12 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
   13 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
   14 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
   15 – must “describe the nature of the withheld documents, communications, or tangible
   16 things in a manner that, without revealing information itself privileged or protected, will
   17 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
   18 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
   19 responsive documents.
   20         Mr. Vary’s Statement Regarding Request No. 19:
   21         Vary respectfully refers the Court to his statement regarding Request No. 1.
   22
   23         Q.     Document Request No. 20
   24         Mr. Fowler’s Request No. 20:
   25         All Documents Concerning any Communication between You and any Person
   26 about this lawsuit.
   27
   28

                                                    98
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 103 of 116 Page ID
                                  #:106

    1         Mr. Vary’s Response to Request No . 20:
    2         Vary incorporates by reference, as if fully set forth herein, the General Objections
    3 set forth above. Vary objects to this Request to the extent that it calls for material
    4 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
    5 to the extent that it calls for material protected from disclosure by the attorney-client
    6 privilege, the attorney work product doctrine, and any other applicable privilege or
    7 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
    8 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
    9 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
   10 extent that it calls for material that is publicly available and/or equally accessible to the
   11 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
   12 in Vary' s possession, custody or control. Vary objects to this Request to the extent that
   13 it calls for material that is not relevant and/ or not reasonably calculated to lead to the
   14 discovery of admissible evidence. Vary objects to this Request on the grounds that the
   15 burden associated with searching for and producing potentially responsive materials, if
   16 any, is not proportionate to the relevance, if any, of the requested material.
   17         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 20:
   18
   19         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

   20 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
   21 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
   22 made no showing that any reporters’ privilege/shield applies to some or all documents
   23 called for by this request. Even if some material were covered by that protection, it does
   24 not apply for the reasons explained above, especially given there is no suggestion it
   25 implicates confidential information. During the meet and confer conference between
   26 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
   27 confidential sources. The material sought by this request cannot be obtained elsewhere
   28 and is necessary for important issues in this case, including Rapp’s credibility and the

                                                     99
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 104 of 116 Page ID
                                  #:107

    1 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    2 information.
    3         Mr. Vary’s other objections likewise are without merit. This request does not call
    4 for any attorney-client privileged or work product information, nor has Vary shown
    5 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
    6 Vary already has known about and implicitly acquiesced to the production of his text
    7 messages with Rapp.
    8         Mr. Vary’s claims that this request calls for material outside his possession or
    9 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
   10 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
   11 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
   12 acknowledged he has not even attempted to look for any documents responsive to the
   13 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
   14 unsubstantiated and illusory.
   15         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
   16 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
   17 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
   18 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
   19 – must “describe the nature of the withheld documents, communications, or tangible
   20 things in a manner that, without revealing information itself privileged or protected, will
   21 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
   22 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
   23 responsive documents.
   24         Mr. Vary’s Statement Regarding Request No. 20:
   25         Vary respectfully refers the Court to his statement regarding Request No. 1. Vary
   26 adds that this Request improperly calls for the disclosure of documents protected from
   27 disclosure by the attorney-client privilege.
   28

                                                     100
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 105 of 116 Page ID
                                  #:108

    1         R.     Document Request No. 21
    2         Mr. Fowler’s Request No. 21:
    3         All Documents Concerning any Communication between You and Peter Saghir,
    4 Richard Steigman, Rachel Jacobs, or anyone else at the law firm Gair, Gair, Conason,
    5 Rubinowitz, Bloom, Hershenhorn, Steigman & Mackauf, which is counsel for Plaintiff
    6 in this action.
    7         Mr. Vary’s Response to Request No . 21:
    8         Vary incorporates by reference, as if fully set forth herein, the General Objections
    9 set forth above. Vary objects to this Request to the extent that it calls for material
   10 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
   11 to the extent that it calls for material protected from disclosure by the attorney-client
   12 privilege, the attorney work product doctrine, and any other applicable privilege or
   13 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
   14 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
   15 ambiguous, overbroad and unduly burdensome. Vary objects to this Request to the extent
   16 that it calls for material that is publicly available and/or equally accessible to the
   17 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
   18 in Vary's possession, custody or control. Vary objects to this Request to the extent that it
   19 calls for material that is not relevant and/or not reasonably calculated to lead to the
   20 discovery of admissible evidence. Vary objects to this Request on the grounds that the
   21 burden associated with searching for and producing potentially responsive materials, if
   22 any, is not proportionate to the relevance, if any, of the requested material.
   23         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 21:
   24
   25         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

   26 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
   27 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
   28 made no showing that any reporters’ privilege/shield applies to some or all documents

                                                    101
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 106 of 116 Page ID
                                  #:109

    1 called for by this request. Even if some material were covered by that protection, it does
    2 not apply for the reasons explained above, especially given there is no suggestion it
    3 implicates confidential information. During the meet and confer conference between
    4 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
    5 confidential sources. The material sought by this request cannot be obtained elsewhere
    6 and is necessary for important issues in this case, including Rapp’s credibility and the
    7 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
    8 information.
    9         Mr. Vary’s other objections likewise are without merit. This request does not call
   10 for any attorney-client privileged or work product information, nor has Vary shown
   11 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
   12 Vary already has produced two of his text exchanges with Rapp’s counsel, and any
   13 remaining messages should also be produced.
   14         Mr. Vary’s claims that this request calls for material outside his possession or
   15 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
   16 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
   17 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
   18 acknowledged he has not even attempted to look for any documents responsive to the
   19 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
   20 unsubstantiated and illusory.
   21         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
   22 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
   23 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
   24 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
   25 – must “describe the nature of the withheld documents, communications, or tangible
   26 things in a manner that, without revealing information itself privileged or protected, will
   27 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
   28

                                                    102
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 107 of 116 Page ID
                                  #:110

    1 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    2 responsive documents.
    3         Mr. Vary’s Statement Regarding Request No. 21:
    4         Vary already produced all of the responsive documents he has in response to this
    5 Request as Fowler’s portion of the Joint Stipulation acknowledges.
    6
    7         S.     Document Request No. 26
    8         Mr. Fowler’s Request No. 26:
    9         All Documents Concerning any Communication between You and any Person
   10 about Fowler.
   11         Mr. Vary’s Response to Request No . 26:
   12         Vary incorporates by reference, as if fully set forth herein, the General Objections
   13 set forth above. Vary objects to this Request to the extent that it calls for material
   14 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
   15 to the extent that it calls for material protected from disclosure by the attorney-client
   16 privilege, the attorney work product doctrine, and any other applicable privilege or
   17 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
   18 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
   19 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
   20 extent that it calls for material that is publicly available and/or equally accessible to the
   21 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
   22 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
   23 it calls for material that is not relevant and/or not reasonably calculated to lead to the
   24 discovery of admissible evidence. Vary objects to this Request on the grounds that the
   25 burden associated with searching for and producing potentially responsive materials, if
   26 any, is not proportionate to the relevance, if any, of the requested material.
   27
   28

                                                    103
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 108 of 116 Page ID
                                  #:111

    1         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 26:
    2
    3         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections
    4 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    5 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    6 made no showing that any reporters’ privilege/shield applies to some or all documents
    7 called for by this request. Even if some material were covered by that protection, it does
    8 not apply for the reasons explained above, especially given there is no suggestion it
    9 implicates confidential information. During the meet and confer conference between
   10 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
   11 confidential sources. The material sought by this request cannot be obtained elsewhere
   12 and is necessary for important issues in this case, including Rapp’s credibility and the
   13 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
   14 information.
   15         Mr. Vary’s other objections likewise are without merit. This request does not call
   16 for any attorney-client privileged or work product information, nor has Vary shown
   17 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
   18 Vary already has known about and implicitly acquiesced to the production of his text
   19 messages with Rapp.
   20         Mr. Vary’s claims that this request calls for material outside his possession or
   21 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
   22 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
   23 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also
   24 acknowledged he has not even attempted to look for any documents responsive to the
   25 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
   26 unsubstantiated and illusory.
   27         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
   28 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log

                                                    104
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 109 of 116 Page ID
                                  #:112

    1 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    2 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    3 – must “describe the nature of the withheld documents, communications, or tangible
    4 things in a manner that, without revealing information itself privileged or protected, will
    5 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    6 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    7 responsive documents.
    8         Mr. Vary’s Statement Regarding Request No. 26:
    9         Vary respectfully refers the Court to his statement regarding Request No. 1.
   10
   11         T.     Document Request No. 27
   12         Mr. Fowler’s Request No. 27:
   13         All Documents, Concerning the article You wrote for BuzzFeed News title, "Actor
   14 Anthony Rapp: Kevin Spacey Made a Sexual Advance Toward Me When I was 14."
   15         Mr. Vary’s Response to Request No . 27:
   16         Vary incorporates by reference, as if fully set forth herein, the General Objections
   17 set forth above. Vary objects to this Request to the extent that it calls for material
   18 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
   19 to the extent that it calls for material protected from disclosure by the attorney-client
   20 privilege, the attorney work product doctrine, and any other applicable privilege or
   21 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
   22 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
   23 ambiguous, overbroad and unduly burdensome. Vary objects to this Request to the extent
   24 that it calls for material that is publicly available and/or equally accessible to the
   25 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
   26 in Vary's possession, custody or control. Vary objects to this Request to the extent that it
   27 calls for material that is not relevant and/or not reasonably calculated to lead to the
   28 discovery of admissible evidence. Vary objects to this Request on the grounds that the

                                                    105
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 110 of 116 Page ID
                                  #:113

    1 burden associated with searching for and producing potentially responsive materials, if
    2 any, is not proportionate to the relevance, if any, of the requested material.
    3         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 27:
    4
    5         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    6 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    7 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
    8 made no showing that any reporters’ privilege/shield applies to some or all documents
    9 called for by this request. Even if some material were covered by that protection, it does
   10 not apply for the reasons explained above, especially given there is no suggestion it
   11 implicates confidential information. During the meet and confer conference between
   12 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
   13 confidential sources. The material sought by this request cannot be obtained elsewhere
   14 and is necessary for important issues in this case, including Rapp’s credibility and the
   15 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
   16 information.
   17       Mr. Vary’s other objections likewise are without merit. This request does not call

   18 for any attorney-client privileged or work product information, nor has Vary shown
   19 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
   20 Vary already has known about and implicitly acquiesced to the production of his text
   21 messages with Rapp.
   22         Mr. Vary’s claims that this request calls for material outside his possession or

   23 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
   24 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
   25 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23). Mr. Vary also
   26 acknowledged he has not even attempted to look for any documents responsive to the
   27 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
   28 unsubstantiated and illusory.

                                                   106
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 111 of 116 Page ID
                                  #:114

    1         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    2 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    3 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    4 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    5 – must “describe the nature of the withheld documents, communications, or tangible
    6 things in a manner that, without revealing information itself privileged or protected, will
    7 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
    8 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
    9 responsive documents.
   10         Mr. Vary’s Statement Regarding Request No. 27:
   11         Vary respectfully refers the Court to his statement regarding Request No. 1.
   12
   13         U.     Document Request No. 28
   14         Mr. Fowler’s Request No. 28:
   15         All Documents, Including notes, recordings from any interviews, drafts of articles,
   16 or any other materials, Concerning Mr. Rapp's allegations against Mr. Fowler.
   17         Mr. Vary’s Response to Request No . 28:
   18         Vary incorporates by reference, as if fully set forth herein, the General Objections
   19 set forth above. Vary objects to this Request to the extent that it calls for material
   20 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
   21 to the extent that it calls for material protected from disclosure by the attorney-client
   22 privilege, the attorney work product doctrine, and any other applicable privilege or
   23 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
   24 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
   25 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
   26 extent that it calls for material that is publicly available and/or equally accessible to the
   27 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not
   28 in Vary's possession, custody, or control. Vary objects to this Request to the extent that

                                                    107
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 112 of 116 Page ID
                                  #:115

    1 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    2 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    3 burden associated with searching for and producing potentially responsive materials, if
    4 any, is not proportionate to the relevance, if any, of the requested material.
    5         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 28:
    6
    7         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    8 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
    9 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
   10 made no showing that any reporters’ privilege/shield applies to some or all documents
   11 called for by this request. Even if some material were covered by that protection, it does
   12 not apply for the reasons explained above, especially given there is no suggestion it
   13 implicates confidential information. During the meet and confer conference between
   14 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
   15 confidential sources. The material sought by this request cannot be obtained elsewhere
   16 and is necessary for important issues in this case, including Rapp’s credibility and the
   17 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
   18 information.
   19       Mr. Vary’s other objections likewise are without merit. This request does not call

   20 for any attorney-client privileged or work product information, nor has Vary shown
   21 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
   22 Vary already has known about and implicitly acquiesced to the production of his text
   23 messages with Rapp.
   24         Mr. Vary’s claims that this request calls for material outside his possession or

   25 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
   26 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
   27 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23). Mr. Vary also
   28 acknowledged he has not even attempted to look for any documents responsive to the

                                                   108
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 113 of 116 Page ID
                                  #:116

    1 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    2 unsubstantiated and illusory.
    3         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    4 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    5 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    6 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    7 – must “describe the nature of the withheld documents, communications, or tangible
    8 things in a manner that, without revealing information itself privileged or protected, will
    9 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
   10 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
   11 responsive documents.
   12         Mr. Vary’s Statement Regarding Request No. 28:
   13         Vary respectfully refers the Court to his statement regarding Request No. 1.
   14
   15         V.     Document Request No. 29
   16         Plaintiff’s Request No. 29:
   17         All Documents in your custody, possession, or control Concerning Fowler.
   18         Mr. Vary’s Response to Request No . 29:
   19         Vary incorporates by reference, as if fully set forth herein, the General Objections
   20 set forth above. Vary objects to this Request to the extent that it calls for material
   21 protected from disclosure by the Reporter's Privilege/Shield. Vary objects to this Request
   22 to the extent that it calls for material protected from disclosure by the attorney-client
   23 privilege, the attorney work product doctrine, and any other applicable privilege or
   24 doctrine. Vary objects to this Request to the extent it calls for the disclosure of material
   25 protected from disclosure by the right to privacy. Vary objects to this Request as vague,
   26 ambiguous, overbroad, and unduly burdensome. Vary objects to this Request to the
   27 extent that it calls for material that is publicly available and/or equally accessible to the
   28 Subpoenaing Party. Vary objects to this Request to the extent that it calls for material not

                                                    109
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 114 of 116 Page ID
                                  #:117

    1 in Vary's possession, custody, or control. Vary objects to this Request to the extent that
    2 it calls for material that is not relevant and/or not reasonably calculated to lead to the
    3 discovery of admissible evidence. Vary objects to this Request on the grounds that the
    4 burden associated with searching for and producing potentially responsive materials, if
    5 any, is not proportionate to the relevance, if any, of the requested material.
    6         Mr. Fowler’s Statement Regarding the Insufficiency of Mr. Vary’s Response
              to Document Request No. 29:
    7
    8         Mr. Vary’s objections to this request are without merit. Mr. Vary’s objections

    9 based on the “Reporter’s Privilege/Shield” are inapposite for the same reasons discussed
   10 above. Mr. Vary is friend with Mr. Rapp and has known him for over 20 years. He has
   11 made no showing that any reporters’ privilege/shield applies to some or all documents
   12 called for by this request. Even if some material were covered by that protection, it does
   13 not apply for the reasons explained above, especially given there is no suggestion it
   14 implicates confidential information. During the meet and confer conference between
   15 counsel, Mr. Fowler limited the scope by stating he is not seeking information from
   16 confidential sources. The material sought by this request cannot be obtained elsewhere
   17 and is necessary for important issues in this case, including Rapp’s credibility and the
   18 details of his allegations. Mr. Fowler has exhausted other avenues to obtain this
   19 information.
   20       Mr. Vary’s other objections likewise are without merit. This request does not call

   21 for any attorney-client privileged or work product information, nor has Vary shown
   22 otherwise. Nor has Vary shown that any right of privacy is implicated by this request.
   23 Vary already has known about and implicitly acquiesced to the production of his text
   24 messages with Rapp.
   25         Mr. Vary’s claims that this request calls for material outside his possession or

   26 would impose an undue burden are unsubstantiated and without merit. Mr. Vary
   27 acknowledged at deposition he likely still possesses at least his text messages with Rapp.
   28 See, e.g., Scolnick Decl., Ex. 1 (Vary Depo. Tr. at 28:16-23).             Mr. Vary also


                                                   110
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 115 of 116 Page ID
                                  #:118

    1 acknowledged he has not even attempted to look for any documents responsive to the
    2 Records Subpoena. Id. at 51:5-13, 53:19-22. His claim of undue burden therefore is
    3 unsubstantiated and illusory.
    4         Finally, to the extent Mr. Vary is permitted to withhold any documents based on
    5 the asserted reporter’s privilege or reporter’s shield at this time, he should produce a log
    6 to allow the Court and parties to better evaluate that assertion. Under Federal Rule of
    7 Civil Procedure 45(e)(2)(A)(ii), Mr. Vary – as the subpoenaed party asserting privilege
    8 – must “describe the nature of the withheld documents, communications, or tangible
    9 things in a manner that, without revealing information itself privileged or protected, will
   10 enable the parties to assess the claim.” Mr. Vary has not provided such information here.
   11 Indeed, he acknowledged at deposition he has done nothing to even look for potentially
   12 responsive documents.
   13         Mr. Vary’s Statement Regarding Request No. 29:
   14         Vary respectfully refers the Court to his statement regarding Request No. 1.
   15
   16
   17 Dated: January 31, 2022                          Respectfully submitted,
            Irvine, California.
   18                                                  /s/ Chase A. Scolnick
   19                                                  Jennifer L. Keller
                                                       Chase A. Scolnick
   20                                                  Jay P. Barron
   21                                                  KELLER/ANDERLE LLP
                                                       18300 Von Karman Ave., Suite 930
   22                                                  Irvine, California 92612
   23                                                  Tel: (949) 476-8700
                                                       Fax: (949) 476-0900
   24                                                  Email: jkeller@kelleranderle.com
                                                              cscolnick@kelleranderle.com
   25
                                                              jbarron@kelleranderle.com
   26
                                                       Counsel for Plaintiff Kevin Spacey
   27
                                                       Fowler a/k/a Kevin Spacey
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                                                    111
         JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                 ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
Case 2:22-mc-00030-MWF-AFM Document 1-1 Filed 02/09/22 Page 116 of 116 Page ID
                                  #:119

    1
        Dated: February 9, 2022
    2         Los Angeles, California.
    3                                             /s/ Jean-Paul Jassy
                                                  Jean-Paul Jassy
    4                                             JASSY VICK CAROLAN LLP
    5                                             355 South Grand Avenue, Suite 2450
                                                  Los Angeles, California 90071
    6                                             Tel: (310) 870 -7048
    7                                             Fax: (310) 870-7010
                                                  E-mail: jpjassy@jassyvick.com
    8
                                                  Counsel for Non-Party Journalist
    9
                                                  Adam Vary
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                                               112
          JOINT STIPULATION REGARDING MOVING PARTY’S MOTION TO COMPEL AND FOR CONTEMPT RE
                  ADAM VARY’S DEPOSITION AND SUBPOENA FOR PRODUCTION OF DOCUMENTS
